Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 1 of 161




                  Exhibit 1
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 2 of 161

               2021-10004 / Court: 133
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 3 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 4 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 5 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 6 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 7 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 8 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 9 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 10 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 11 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 12 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 13 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 14 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 15 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 16 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 17 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 18 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 19 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 20 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 21 of 161

               2021-10004 / Court: 133
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 22 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 23 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 24 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 25 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 26 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 27 of 161

               2021-10004 / Court: 133
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 28 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 29 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 30 of 161

               2021-10004 / Court: 133
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 31 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 32 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 33 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 34 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 35 of 161

               2021-10004 / Court: 133
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 36 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 37 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 38 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 39 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 40 of 161




                   Exhibit 2
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 41 of 161

               2021-10004 / Court: 133
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 42 of 161




                   Exhibit 3
            Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 43 of 161                                    2/26/2021 3:20 PM
                                                                                        Marilyn Burgess - District Clerk Harris County
AFFIDAVIT ATTACHED                                                                                           Envelope No. 50975340
                                                                                                               By: EVELYN PALMER
                                                                             Receipt Number: 911605 Filed: 2/26/2021 3:20 PM
                                                                             Tracking Number:       73843031
  EML
  COPY OF PLEADING PROVIDED BY PLT


                                               CAUSE NUMBER:     202110004



  PLAINTIFF:   KHOURY,     LISA     (INDIVIDUALLY      AND     ON                In the 133rd Judicial
  BEHALF OF ALL OTHERS SIMILARLY

  VS,                                                                            District Court of
  DEFENDANT:    GRIDDY ENERGY LLC                                                Harris Cc)unty, Texas

                                                      CITATION
  THE STATE OF TEXAS
  County of Harris

  TO:    GRIDDY ENERGY LLC MAY BE SERVED BY SERVING ITS REGISTERED AGENT

  CT CORPORATION SYSTEM

  1999 BRYAN STREET SUITE         900

  DALLAS TX 75201--3136


        Attached is a copy of PLAINTIFF'S ORIGINAL CLASS ACTION PETITION.
  This instrument was filed on February 22, 2021, in the above numbered and styled
  cause on the docket in the above Judicial District Court of Harris County, Texas, in
  the courthouse in the City of Houston, Texas. The instrument attached describes the
  claim against you.
        YOU HAVE BEEN SUED.              You may employ an attorney.            If you or your attorney do not
  file a written answer with the District Clerk who issued this citation by 10:00 a.in.
  on the Monday next following the expiration of twenty days after you were served this
  citation and petition, a default judgment may be taken against you.      In addition to
  filing a written answer with the clerk, you may be required to make initial
  disclosures to the other parties of this suit.  These disclosures generally must be
  made no later than 30 days after you file your answer with the clerk. Find out more
  at TexasLawHelp.org.
        ISSUED AND GIVEN UNDER MY HAND                   and seal     of     said Court,   at   Houston,      Texas,    this
  February 23,    2021.


                                                                  mdr hiife
                                                                  Marilyn Burgess, District Clerk
                                                                  Harris County, Texas
                                                                  201 Caroline, Houston, Texas 77002


                                                                  Generated By:    MARIA RODRIGUEZ


  Issued at request of :
  POTTS,   DEREK HEATH
  3737 BUFFALO SPEEDWAY,      STE       1900
  HOUSTON, TX    77098
  713~963-8881

  Bar Number: 24073727

   AFFIDAVIT A"CHED
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 44 of 161




                                              Officer or Authorized return

Came to hand on the 25th jay of A.D.. 2021, at 10:59 o'clock.                 .     ____   __I   __   _ __   _   __   _ __




AML and executed by delivering on the 25th day of February A. D. 2021. at 2:05 o'clock                                       _   ===_ ___I__   __ _   __I __ I_   i_ _ __   __




P±4±,±±g within named defendant, CT Corp Registered Agent for GRIDDY ENERGY LLC in person,
a true copy of this Citation, together with a copy of original petition with date of service marked
thereon, at the following location,1999 Bryan St Suite 900 Dallas Texas 75021




Citation: 202110004
__   _ _   _______   _____   _   _   _



 PLAINTIFFS' ORIGINAL CLASS ACTION PETITION
 EXHIBITS A, a, C, D, E


Witness Fee:
For mileage
For Notary




                                                                                  PSC 18151 expires 1/31/2023.

                                            Richard White, 709 Colonial Drive, Garland, Texas 75043
                                                                Authorized Person
                                                                                  (469) 867-5210


COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE. OR CLERK OF THE COURT.
in accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The
signature is not required to be verified, if the return is signed by a person other than a sheriff, constable, or the clerk of the court, the
return shall be signed under penalty of perjury and contain the following statement:




My name is Richard White. (469) 867-5210


My date of birth is May 5.1943                       and my address is 709 Colonial Drive Garland, Texas 75043 Q£±jjas
County, Texas


I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.
             Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 45 of 161


ngfi#££® wolters K[uwer




Date: Thu, Feb 25, 2021

Time: 2:09 PM CST

Name: David Valfer

Juris Served: TX

Job lD: 51980




Receipt of the following documents at the date, time and location indicated above.




 Griddy Energy LLC                                                                   202110004



Intake Specialist: Lindse¥ Barrientez




CT Corporation, a Wo]ters K!uwer Company
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 46 of 161




                   Exhibit 4
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 47 of 161                               3/2/2021 2:23 PM
                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 51077133
                                                                                                        By: Keeley Hodgins
                                                                                                  Filed: 3/2/2021 2:23 PM

                                    CAUSE NO. 2021-10004

 LISA KHOURY, Individually and on                §               IN THE DISTRICT COURT OF
 Behalf of all Others Similarly Situated,        §
                                                 §
         Plaintiffs,                             §
                                                 §
 vs.                                             §                 HARRIS COUNTY, TEXAS
                                                 §
 GRIDDY ENERGY LLC and                           §
 GRIDDY HOLDINGS LLC,                            §
                                                 §
         Defendants.                             §                 133rd JUDICIAL DISTRICT

              PLAINTIFFS’ FIRST AMENDED CLASS ACTION PETITION

        Plaintiffs Lisa Khoury, Individually and on Behalf of all Others Similarly Situated, by and

through the undersigned counsel, bring this class action against Defendants Griddy Energy LLC

and Griddy Holdings LLC (collectively “Griddy”). Plaintiffs make the following allegations

pursuant to the investigation of counsel and based upon information and belief, except as to the

allegations specifically pertaining to Khoury, which are based on personal knowledge.

                                        INTRODUCTION

        1.     This is a class action on behalf of all Griddy customers who were charged excessive

electricity prices during and because of Winter Storm Uri of February 2021. Griddy provided

electricity to Texas and charged customers what has been described as “massive,” “catastrophic,”

and “eye watering” electrical bills, even when those customers experienced power outages and

other hardships during the winter storm.

        2.     Griddy has caused substantial harm to Khoury and the proposed class by charging

excessive electricity prices during and because of a disaster.
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 48 of 161




                                           PARTIES

       3.      Plaintiff Lisa Khoury is an individual and citizen of the United States residing in

Mont Belvieu, Chambers County, Texas.

       4.      More than two-thirds of the members of all proposed plaintiff classes in the

aggregate are citizens of Texas.

       5.      Defendant Griddy Energy LLC is a Delaware limited liability company with its

principal place of business located at 11811 North Freeway, Suite 500, Houston, Texas 77060.

Griddy Energy LLC maintains a registered agent in Texas, CT Corporation System, who can be

served at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       6.      Defendant Griddy Holdings LLC is a Delaware limited liability company that owns

and operates Griddy Energy LLC. Griddy Holdings LLC’s registered agent, The Corporation Trust

Company, can be served at 1209 Orange Street, Wilmington, Delaware 19801.

       7.      Based upon the unitary and overlapping nature of their business, Griddy Energy

LLC and Griddy Holdings LLC shall be referred to collectively as Griddy.

                                      DISCOVERY LEVEL

       8.      Khoury and Class Members intend to conduct discovery under Level 3 pursuant to

Rule 190.4 of the Texas Rules of Procedure.

                                   JURISDICTION AND VENUE

       9.      This Court has jurisdiction over this controversy because the damages are within

the jurisdictional limits of this Court. Khoury and Class Members are seeking monetary relief of

over $1 billion.

       10.     This Court has personal jurisdiction over Griddy Energy LLC because its principal

place of business is in Harris County, Texas. At all relevant times, Griddy Energy LLC



                                                2
         Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 49 of 161




purposefully availed itself of the benefits and protections of Texas by continuously and

systematically conducting business so substantial as to render it at home in Texas. Griddy Energy

LLC publicizes its company as a “Texas Energy Company” that brought “wholesale electricity to

Texas.” Griddy Energy LLC markets and sells electricity and transacts business in and directed

towards Texas. Griddy Energy LLC maintains a headquarters in Texas and is registered in Texas.

           11.     This Court has personal jurisdiction over Griddy Holding LLC. Griddy Holdings

LLC has purposefully availed itself of the benefits and protections of Texas. Griddy Holdings LLC

owns and operates Griddy Energy LLC. Griddy Holdings LLC owns, controls, and developed the

software Texans used to manage and navigate their Griddy Energy LLC plans. Griddy Energy

LLC holds the patent application for the software.

           12.     Pursuant to Section 15 of the Texas Civil Practice and Remedies Code, venue is

proper because a substantial part of the events or omissions giving rise to the alleged claims

occurred or originated in Texas and this District. Additionally, Griddy Energy LLC is located at

11811 North Freeway, Suite 500, Houston, Harris County, Texas 77060.

                                        FACTUAL BACKGROUND

           13.     Winter Storm Uri wreaked havoc in Texas and other states for one week in February

2021. The storm brought cold weather, including sub-freezing temperatures, snow, and ice, to a

region ill-equipped to handle such conditions. 1 With surges in electricity usage to heat homes, the

power grid was overtaxed resulting in people left without electricity for days, and it snowballed

into other problems: no internet and cell services, contaminated water, and food shortages. At the

time of filing, the extent of damage and the death toll are unknown. 2




1
    https://www.texastribune.org/2021/02/19/texas-winter-legislature-electricity/
2
    https://www.texastribune.org/2021/02/19/texas-power-outage-winter-storm-deaths/

                                                         3
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 50 of 161




The Disaster Unfolds in Texas

        14.      On Thursday, February 11, 2021, the Texas Weather Service issued its first winter

storm watches. By Sunday, February 14, 2021, the entire state of Texas was placed under a winter

storm warning. 3 Weather forecasters predicted the inclement weather as early as February 5, 2021,

giving power grid operators, energy companies, and state officials ample time to prepare. 4

        15.      On Friday, February 12, 2021, Governor Greg Abbott declared a state of disaster

in all Texas counties due to the winter weather. Ex. A, Proclamation. 5 Texans were warned to

minimize electricity consumption to prevent further havoc on the power grid. 6 President Joseph R.

Biden, Jr. approved an emergency declaration over the weekend. 7

        16.      On Sunday, February 14, 2021, the Electric Reliability Council of Texas

(“ERCOT”) announced that rolling outages would be imposed for the next two days to avoid a

complete system breakdown. 8 Rolling blackouts were last carried out in Texas a decade ago. 9

Texas has failed to address any of the winter weatherization issues that last took place in 2011. 10

        17.      Texas purchases electricity from companies, cities, and others, while ERCOT

works with utility providers to manage the power grid and flow to 90% of the state. 11 ERCOT

blamed the outages on generator failures with natural gas providers. 12




3
  https://www.washingtonpost.com/weather/2021/02/19/texas-cold-early-warning/
4
  Id.
5
  https://www.texastribune.org/2021/02/12/texas-winter-weather/
6
  Id.
7
  https://www.whitehouse.gov/briefing-room/statements-releases/2021/02/14/president-joseph-r-biden-jr-approves-
texas-emergency-declaration/
8
  https://www.texastribune.org/2021/02/14/texas-rolling-blackouts/
9
  https://time.com/5939633/texas-power-outage-blackouts/#:~:text=5%20Million%20Americans%20Have%20Lost,
on%20Feb.%2015%2C%202021.
10
   https://www.texastribune.org/2021/02/17/texas-power-grid-failures/
11
   https://www.texastribune.org/2021/02/14/texas-rolling-blackouts/;
https://www.texastribune.org/2021/02/16/natural-gas-power-storm/
12
   Id.

                                                       4
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 51 of 161




        18.      On Monday, February 15, 2021, 2 million Texas households were left without

power. Throughout the United States, 5 million people experienced power outages. 13 The outages

were expected to last 45 minutes per area, but instead, some Texans went days without power. 14

        19.      Many Texans felt blind-sided and alone as they dealt with the crisis, especially

when it remained unclear how long the outages would continue for. 15

        20.      Due to electricity’s high demand, on Tuesday, February 16, 2021, the Public Utility

Commission (“PUC”) directed ERCOT to apply the high system-wide offer cap that raised

electricity prices to $9,000 per megawatt hour. 16

        21.      On Wednesday, February 17, 2021, 2.7 million Texas households were still without

power and nearly 12 million Texans experienced low water pressure and water quality issues. 17

Governor Abbott still had no timeline as to when power and water would be restored. 18

        22.      By Thursday, February 18, 2021, the power outages were no longer necessary. 19

Yet, due to storm damage or other reasons, thousands of Texans remained without power. 20 The

power grid returned to functionality by Friday, February 19, 2021. 21

        23.      On February 19, 2021, President Biden signed an emergency declaration. 22




13
   https://time.com/5939633/texas-power-outage blackouts/#:~:text=5%20Million%20Americans%20Have%20Lost,
on%20Feb.%2015%2C%202021.
14
   https://www.texastribune.org/2021/02/14/texas-rolling-blackouts/
15
   https://www.texastribune.org/2021/02/16/texas-ercot-power-outage/;
https://www.texastribune.org/2021/02/16/texas-power-outage-warnings/
16
   http://www.ercot.com/services/comm/mkt_notices/archives/5221
17
   https://www.texastribune.org/2021/02/17/texas-winter-storm-power-outage-ercot/
18
   https://www.texastribune.org/2021/02/17/greg-abbott-winter-storm/
19
   https://www.texastribune.org/2021/02/18/texas-power-grid-operator-ercot-outage/
20
   Id.
21
   https://www.texastribune.org/series/winter-storm-power-outage/?page=1
22
   https://www.whitehouse.gov/briefing-room/statements-releases/2021/02/20/president-joseph-r-biden-jr-approves-
texas-disaster-declaration/

                                                       5
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 52 of 161




Griddy’s Outrageous Electricity Bills during the Disaster

        24.      Khoury enrolled with Griddy to start electricity services to her home on June 19,

2019. Ex. B, Enrollment Email (06.03.2019).

        25.      Griddy was a Texas wholesale electricity provider. Griddy customers paid $9.99

for a monthly fee and the cost of spot power trades on Texas’s power grid based on the time of

day they used power. 23 Griddy’s business model differed from traditional electricity providers in

that it neither owned power generation capability nor entered into long-term pricing contracts with

power generators. The electricity prices were passed directly to its customers.

        26.      Khoury typically kept a $150 balance in her Griddy account to pay for her

electricity bills. Her monthly electricity bills averaged around $200 to $250. Ex. C, Griddy

Previous Statements. 24

        27.      After the winter storm hit her area, Griddy automatically withdrew from Khoury’s

bank account each time her electricity bill hit the recharge amount of $150. From February 13 to

18, 2021, Griddy withdrew eight times from Khoury’s bank account, $150 each time. By Friday,

February 19, 2021, Griddy withdrew a total of $1,200 from Khoury’s bank account. Ex. D, Griddy

February Statements; Ex. E, Bank Statement.

        28.      Khoury expressed concern over Griddy’s withdrawals and bouncing checks and

eventually placed a stop payment on her bank account on Thursday, February 18, 2021. Khoury

still owed Griddy an additional $9,683.88. Ex. D. That is, her entire Griddy bill was $10,995.46

from February 1 to 19, 2021. Id. 25 Some customers received bills as high as $17,000. 26




23
   https://www.griddy.com/texas/learn-more
24
   Her previous three months of bills for November and December 2020 and January 2021 averaged $215.96, with
an average $0.08 All-In Rate and 2,736 kWh used.
25
   Bill updated to reflect $4.00 All-In Rate and 2,649 kWh used.
26
   https://www.independent.co.uk/news/world/americas/texas-griddy-electric-bills-winter-storm-b1805357.html

                                                      6
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 53 of 161




        29.      Khoury’s electricity bills fluctuated as follows (Ex. C; Ex. D):


                  Date of Bill          Griddy Bill Amount

                  02/13/2021                  $207.70

                                             + $963.65

                  02/16/2021                 $1,171.35

                                             + $4,901.51

                  02/18/2021                 $6,072.86

                                             + $4,922.60
                  02/19/2021                 $10,995.46

        30.      Griddy charged Khoury in the middle of a disaster. She and her husband mostly

were without power in their home from Wednesday, February 17, 2021 to Thursday, February 18,

2021. At the same time, Khoury hosted her parents and in laws, who are in their 80s, during the

storm. Even then, she continued to minimize any power usage because of the high prices.

        31.      The outrageous bills added to Khoury’s stress and financial burden, especially as a

retiree with a fixed income. She describes herself as going into “survival mode.” Many Texans

complained the crisis drained “the mental reserves they had left” from the COVID-19 pandemic. 27

        32.      Griddy customers first experienced drastic bill increases due to weather-related

power changes in the summer heat of August 2019. 28 Griddy downplayed the incident and failed

to modify its business practices.

        33.      Winter Storm Uri proved to be unprecedented for Griddy’s customers. Spot

electricity prices soared to $9,000 per megawatt hour from the pre-storm rate of $50 per megawatt

hour. 29 On Sunday, February 14, 2021, Griddy emailed 29,000 customers to suggest they switch


27
   https://www.texastribune.org/2021/02/16/texans-weather-power-outage/
28
   https://www.khou.com/article/money/business/why-are-griddy-customers-getting-charged-so-much-to-power-
their-homes-right-now/285-dcced90e-e3d1-41d7-8b03-e445a41b5cb7;
https://www.houstonchronicle.com/business/texas-inc/article/Griddy-CEO-Greg-Craig-rewinds-the-price-spikes-of-
14896833.php
29
   https://www.independent.co.uk/news/world/americas/texas-griddy-electric-bills-winter-storm-b1805357.html

                                                        7
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 54 of 161




to another provider with a fixed rate. 30 The next day, Griddy posted a letter on its website about

the winter storm and electricity prices. 31 On Thursday, February 18, 2021, Griddy posted an

additional update on high bills, claiming it was seeking relief from utility regulators. 32

        34.      Customers could not switch providers because other providers were not accepting

new customers due to the winter storm. 33 Khoury attempted to change providers on Tuesday,

February 16, 2021 and was initially told service could only start in a week. Persistent under

pressure, Khoury was able to change providers on Friday, February 19, 2021.

        35.      In light of the energy crisis, high electricity bills, and Griddy’s outrageous billing,

consumer advocacy groups stated, “Clearly we need to change our regulatory focus to protect the

people, not profits.” 34

Government Investigations related to the Disaster

        36.      Griddy customers were shocked and outraged when they received massive

electricity bills, while also facing power outages and other disaster-related hardships. Customers

were unable to pay their bills and faced account overdrafts, penalties and negative credit, power

disconnections, and budget shortfalls when needing fix to disaster-related damages.

        37.      On Monday, February 15, 2021, government officials, later joined by the Texas

Attorney General, began to call for an investigation into the power outages and lack of timely and

credible information. 35



30
   https://www.houstonchronicle.com/business/energy/article/Texas-power-retailers-to-customers-in-face-of-
15953843.php
31
   https://www.griddy.com/post/letter-from-griddy-about-the-storm-and-prices
32
   https://www.griddy.com/post/griddy-update-why-energy-prices-were-sky-high-this-week
33
   https://abc13.com/griddy-power-retailer-electricity-prices-texas-price-protection-grid/10350120/
34
   https://www.texastribune.org/2021/02/17/texas-power-grid-failures/
35
   https://www.texastribune.org/2021/02/14/texas-rolling-blackouts/;
https://www.texastribune.org/2021/02/16/texas-power-outage-ercot/;
https://www.texastribune.org/2021/02/17/texas-winter-storm-power-outage-ercot/;
https://www.texastribune.org/series/winter-storm-power-outage/?page=2

                                                        8
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 55 of 161




        38.      On Friday, February 19, 2021, officials also began to advocate for investigating the

high energy bills and alleviating costs by developing a “solution to ensure that Texans are not on

the hook for unreasonable spikes in their energy bills.” 36 Senator Ted Cruz agreed: “No power

company should get a windfall because of a natural disaster, and Texans shouldn’t get hammered

by ridiculous rate increases for last week’s energy debacle.” 37

        39.      On February 19, 2021, after Griddy withdrew money from Plaintiffs’ accounts,

ERCOT announced Griddy failed to pay an invoice, with a short pay equal to $1,184,604.79. 38

        40.      On Saturday, February 21, 2021, Governor Abbott convened an emergency

meeting to find a solution for Texans with high electricity bills. The next day, PUC issued two

orders to temporarily stop electricity providers from disconnecting for non-payment and to

continue offering deferred payment plans. 39 PUC also “urged retail electric providers to delay

invoicing” for customers. 40

        41.      After Plaintiffs filed this matter, on February 23, 2021, ERCOT indicated Griddy

owed a payout of $1,561,870.12. 41

        42.      On February 26, 2021, ERCOT revoked Griddy’s access to the Texas power grid

due to a payment breach and transitioned Griddy’s remaining customers to other providers. 42 The

media reported the transition effected 10,100 customers. 43



36
   https://www.cnn.com/2021/02/20/business/texas-electricity-bills-griddy-puct/index.html;
https://www.texastribune.org/2021/02/21/texas-electric-bill-greg-abbott/;
https://www.cnn.com/2021/02/20/business/texas-electricity-bills-griddy-puct/index.html
37
   https://www.reuters.com/article/uk-usa-weather-texas-idUSKBN2AL0J7
38
   http://www.ercot.com/services/comm/mkt_notices/archives/5231 (W-A021921-01)
39
   https://www.kxan.com/news/texas/texas-utility-commission-orders-delay-of-power-disconnections-due-to-
potential-high-bills/; https://www.puc.texas.gov/51812RuleExceptions.pdf;
https://www.puc.texas.gov/51812ERCOTProtocolActions.pdf
40
   https://www.puc.texas.gov/agency/resources/pubs/news/2021/PUCTX-REL-COLD21-022121-EOM.pdf
41
   http://www.ercot.com/services/comm/mkt_notices/archives/5241 (W-A021921-02)
42
   http://www.ercot.com/services/comm/mkt_notices/archives/5258 (M-G022621-01)
43
   https://www.usnews.com/news/us/articles/2021-02-26/texas-electric-firm-griddy-loses-access-to-texas-grid-
customers-turned-over-to-rivals

                                                        9
          Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 56 of 161




           43.      In response to ERCOT’s actions against it, Griddy posted an update on its

website. 44 The update stated:

           What happens to my account balance?
           Winter Storm Uri resulted in uncertainty regarding the reliability of date received
           from meter reads and ERCOT concerning electricity actually used by customers.
           As such, we have paused further billing until we have more certainty regarding this
           data. We currently expect to issue final bills in less than 60 days, indicating whether
           your account balance is positive or negative . . . .

           44.      On February 28, 2021, the Texas Attorney General filed suit against Griddy,

asserting Deceptive Trade Practices Act violations and injunctive relief. 45

                                           CLASS ALLEGATIONS

           45.      Pursuant to Texas Rule of Civil Procedure 42, Khoury, on behalf of herself and all

others similarly situated, bring this class action and seek to represent the following:

           Class
           All Texas residents who purchased or obtained electricity services from Griddy and
           were charged and/or paid excessive and/or exorbitant electricity prices during and
           because of Winter Storm Uri of February 2021 (the “Class”).

           46.      Significantly more than two-thirds of the members of all proposed plaintiff classes

in the aggregate are citizens of the State of Texas.

           47.      Defendant, Griddy Energy LLC, from whom significant relief is sought by

members of the Class, whose alleged conduct forms a significant basis for the claims asserted by

the proposed Class is a citizen of Texas.

           48.      The principal injuries resulting from the alleged conduct or any related conduct of

Griddy were incurred in Texas.




44
     https://www.griddy.com/
45
     https://thehill.com/policy/energy-environment/540967-texas-sues-power-provider-griddy-over-winter-storm-rates

                                                         10
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 57 of 161




       49.     During the 3-year period preceding the filing of Plaintiff’s Original Petition no

other class action has been filed asserting the same or similar factual allegations against Griddy on

behalf of the same persons.

       50.     Excluded from the Class is Griddy, any entities in which Griddy has a controlling

interest, any of Griddy’s officers, directors, or employees, any of Griddy’s legal representatives,

heirs, successors, and assigns, anyone employed with Plaintiffs’ counsels’ firms, any Judge to

whom this case is assigned and his or her immediate family.

       51.     Numerosity. The Class is so numerous that joinder of all members is impracticable.

While the exact number of Class Members is information not readily available at this time, as only

Griddy possesses the data to determine a numerical figure to indicate the number of customers

who experienced excessive electricity prices during and because of Winter Storm Uri of February

2021, Plaintiffs have reasonable belief that there are thousands of potential members in the Class.

Griddy has thousands of customers in Texas and all of Texas was affected by the winter storm and

most of Texas was affected by power outages.

       52.     Typicality. Khoury’s claims are typical of the claims of the Class Members she

seeks to represent because Khoury and all Class Members were customers of Griddy, who

provided variable-rate electricity plans to all customers, and were charged excessive electricity

prices during and because of Winter Storm Uri of February 2021.

       53.     Adequacy. Plaintiffs have retained counsel experienced in complex class action

and consumer protection litigation. Khoury has no interests that are adverse to or in conflict with

other Class Members. Khoury will fully and adequately protect the interests of all Class Members.

       54.     Commonality. The questions of law and fact common to Class Members

predominate over any questions that may affect only individual members, namely: whether Griddy



                                                 11
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 58 of 161




engaged in price gouging by charging excessive electricity prices to its customers during and

because of Winter Storm Uri of February 2021; whether Griddy engaged in false, deceptive, and

misleading acts and practices; whether Griddy engaged in unconscionable acts; whether Griddy

breached an express warranty; whether Griddy acted negligently when failing to monitor and

prevent excessive electricity prices charged to customers during and because of Winter Storm Uri

of February 2021; whether Griddy is liable for the excessive price increase on electricity supplied

by the market; whether Griddy was unjustly enriched as a result of charging excessive electricity

prices to its customers during and because of Winter Storm Uri of February 2021; whether Griddy

committed conversion when keeping Plaintiffs’ money; whether Griddy committed a violation

under Texas’s Deceptive Trade Practices Act, negligence, conversion, or unjust enrichment;

whether Khoury and Class Members were harmed; and whether Griddy should be subjected to a

declaratory judgment, injunction, and statutory and other damages.

       55.     Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of this controversy since joinder of all Class Members is impracticable. The

prosecution of separate actions by individual Class Members would impose heavy burdens upon

the courts and would create a risk of inconsistent or varying adjudications of the questions of law

and fact common to the Class. A class action, on the other hand, would achieve substantial

economies of time, effort, and expense and would assure uniformity of decision with respect to

persons similarly situated, without sacrificing procedural fairness or bringing about other

undesirable results.

       56.     The interest of Class Members in individually controlling the prosecution of

separate actions is theoretical rather than practical. The Class is cohesive, and prosecution of the

action through representatives would be unobjectionable. The damages suffered by the Class are



                                                12
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 59 of 161




uniform and generally formulaic, and the expense and burden of individual litigation could

preclude them form fair redressal of the wrongs done to them. Plaintiffs anticipate no difficulty in

the management of this action as a class action.

      COUNT I: VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES ACT
                    (TEX. BUS. & COM. CODE §§ 17.01-.954)

       57.     The preceding paragraphs are incorporated by reference as if fully alleged herein.

       58.     Griddy acted knowingly and intentionally when violating Texas’s Deceptive Trade

Practices Act (“DTPA”), Chapter 17 of the Texas Business and Commerce Code.

DTPA Laundry List Violations

       59.     The DTPA prohibits “false, misleading, or deceptive acts or practices in the conduct

of any trade or commerce . . . .” Tex. Bus. & Com. Code § 17.46(a).

       60.     DTPA §§ 17.46(b)(2), (5), (7), (9), and (12) prohibits Griddy from: causing confusion

as to the source of services; representing services have characteristics, uses, benefits or quantities

that they do not have; representing services are of a particular standard if they are of another;

advertising services with the intent not to sell as advertised; and representing an agreement confers

rights, remedies, or obligation that it does not have.

       61.     Griddy represented and led Khoury and Class Members to believe its electricity

service plan would be based on the wholesale market and not be subject to severe price

fluctuations. Griddy, through its advertising and marketing, misled Khoury and Class Members

when it failed to disclose the true risks of its variable-rate plan based on the wholesale market.

Instead, Griddy charged inflated and excessive prices during and because of the winter storm.




                                                   13
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 60 of 161




        62.      Griddy knew the actual exposure to Khoury and Class Members extended to $9,000

per megawatt hour. Yet, Griddy represented that its wholesale market prices would be within a

reasonable range and price spikes would be rare. 46

        63.      Griddy minimized its plan’s pricing high point and shifted responsibility onto

customers to monitor pricing. Griddy did this even when it knew its electricity plans could be

drastically affected by and reflect severe price fluctuation due to inclement weather, as was the

case in August 2019. Furthermore, Griddy’s software application and customer portal did not assist

Khoury and Class Members during the winter storm to monitor, forecast, and avoid price

fluctuations. It was only helpful, if at all, in hindsight.

        64.      Even, in its last message to its customers, Griddy maintained it was free of any

wrongdoing and shifted blame to its customers and to the state and federal government. 47

        65.      Griddy downplayed the risks of its variable-rate plan and its customers’ exposure

to inflated and excessive prices. Rather than relay the truth, Griddy chose to focus on savings and

its misleading reputation as a low-cost provider.

        66.      Ultimately, Khoury and Class Members, unsophisticated consumers, were not able

to ascertain that wholesale market prices could fluctuate so radically, and they would bear the brunt

of the price fluctuations.

        67.      DTPA § 17.46(b)(24) prohibits failing to disclose information concerning a service,

which was known at the time of the transaction, if intended to induce the consumer into a

transaction into which the consumer would not have entered.




46
   https://www.griddy.com/post/how-to-save-during-a-price-a-spike-winter-edition (explaining “how rare these
occurrences are: prices spike over 6¢/kWh only 3.9% of the time.”); https://www.npr.org/transcripts/971125969
(explaining a storm-like price spike to be equal to a chance of 0.1% of 0.6%).
47
   https://www.griddy.com/

                                                       14
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 61 of 161




        68.      To acquire customers, Griddy advertised and marketed the plan as based on the

wholesale market and as a low-cost alternative to traditional service plans.

        69.      In addition to the other misrepresentations detailed herein, Griddy misrepresented

the amount of its plan’s savings and fees. Griddy averaged a 2019 price of 12.00 cents per kilowatt

hour, while Texas averaged a 2019 price of 11.76 cents per kilowatt hour. 48 Griddy described its

fees as being substantially less than those charged by traditional electricity providers. However,

comparing Griddy’s $120.00 yearly membership to traditional electricity providers’ disconnection

and other fees, which are not applicable to Griddy, is not a true and fair comparison.

        70.      Had they understood Griddy’s pricing scheme and the possibility of inflated and

excessive pricing, Khoury and the Class Members would not have agreed to Griddy’s services and,

especially, Griddy’s automatic withdrawal billing system—a predatory tactic.

        71.      Khoury and the Class Members would stick to a safer electricity plan, maybe even

a fixed-rate plan, as was suggested by Griddy during the winter storm.

        72.      DTPA § 17.46(b)(27) specifically disallows price gouging during a declared disaster.

It prohibits taking advantage of a disaster, declared by the governor under Chapter 418 of the Texas

Government Code, by:

        (A) selling or leasing fuel, food, medicine, lodging, building materials, construction
        tools, or another necessity at an exorbitant or excessive price; or
        (B) demanding an exorbitant or excessive price in connection with the sale or lease
        of fuel, food, medicine, lodging, building materials, construction tools, or another
        necessity;




48
  https://www.eia.gov/electricity/sales_revenue_price/pdf/table10.pdf;
https://www.eia.gov/electricity/sales_revenue_price/pdf/table5_a.pdf

                                                        15
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 62 of 161




Tex. Bus. & Com. Code § 17.46(b)(27). The designated disaster period begins at the earliest of the

date of disaster or date of disaster proclamation by governor or presidents and ends within 30 days.

Id. § 17.4626.

        73.      Griddy engaged in false, misleading, or deceptive acts by selling and/or demanding

electricity at excessive prices during and because of Winter Storm Uri of February 2021.

        74.      Griddy’s electricity prices and bills increased astronomically. Customers did not

anticipate such increases.

        75.      Griddy committed price gouging when Griddy allowed their customers to be

charged such exorbitant amounts for electricity. Knowing the variable-rate plan would result in

customers paying grossly inflated prices, Griddy even suggested their customers move to a fixed-

rate plan under a different provider.

        76.      Griddy attempted to justify the price increases as being a result of the wholesale

power market and placed the burden on customers to track market prices. Pursuant to the DTPA,

Griddy should still be held accountable and liable for price gouging when it excessively raised

prices during a disaster.

        77.      Governor Abbott, under Section 418.014 of the Texas Government Code, on

February 12, 2021, declared a state of disaster due to the winter weather. Ex. A. Additionally,

Texas’s disaster declaration for COVID-19 was renewed on February 4, 2021. 49 President Biden

declared an emergency exists in Texas on February 14 and 20, 2021. President Biden specified the

storm began on February 11, 2021. 50




49
  https://gov.texas.gov/news/post/governor-abbott-extends-covid-19-disaster-declaration-february-2021
50
  https://www.whitehouse.gov/briefing-room/statements-releases/2021/02/14/president-joseph-r-biden-jr-approves-
texas-emergency-declaration/; https://www.whitehouse.gov/briefing-room/statements-
releases/2021/02/20/president-joseph-r-biden-jr-approves-texas-disaster-declaration/

                                                      16
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 63 of 161




        78.      Khoury and Class Members were victims of Griddy. They relied on Griddy’s

electricity to their detriment, particularly in an unprecedently winter storm where other providers

were unavailable. Griddy’s plan, with its excessive electricity prices, was a producing cause of

economic and mental anguish damages. Tex. Bus. & Com. Code § 17.50.

DTPA Unconscionability

        79.      Griddy’s charging of excessive prices for electricity with their variable-rate plan is

unconscionable. An unconscionable act “takes advantage of the lack of knowledge, ability,

experience, or capacity of the consumer to a grossly unfair degree.” Tex. Bus. & Com. Code §

17.45(5). Khoury and Class Members are unsophisticated consumers. They chose Griddy, a

wholesale electricity provider, to pay less. Variable-rate plans, however, are a gamble and

unpredictable. Consumers rarely understand the risks. 51 Griddy took advantage of this lack of

knowledge to a grossly unfair degree when selling these plans. Griddy’s unconscionable act was a

producing cause of economic and mental anguish damages. Tex. Bus. & Com. Code § 17.50.

DTPA Breach of an Express Warranty

        80.      Griddy sold electricity plan services to Khoury and the Class Members. Griddy

represented it was a low-cost provider that based its plans on the wholesale market and would be

insulated from inflated and excessive prices. Griddy’s representation was the basis of the bargain.

Griddy breached the warranty when charging Khoury and the Class Members excessive and

inflated prices, and Khoury and the Class Members suffered. Tex. Bus. & Com. Code § 17.50.

        81.      Khoury and Class Members seek all available and applicable relief under the

DTPA, including economic, mental anguish, and additional damages, an order enjoining Griddy



51
  Lawmakers have agreed variable-rate plans, such as Griddy’s, are unfair to the consumer and are predatory. See
Texas House Committees State Affairs and Energy Resources Testimony (February 25, 2021),
https://tlchouse.granicus.com/MediaPlayer.php?view_id=46&clip_id=19369, at Timestamp 3:24:20 and 3:29:36.

                                                       17
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 64 of 161




from engaging in price gouging, an order to restore money acquired by Griddy in violation of the

DTPA, attorneys’ fees and costs, and pre- and post-judgment interest.

                   COUNT II: NEGLIGENCE AND NEGLIGENCE PER SE

       82.     The preceding paragraphs are incorporated by reference as if fully alleged herein.

       83.     Griddy has a duty to apply a level of care commensurate with the foreseeable harm

arising from its control and management of its wholesale electricity service. This encompasses a

duty to ensure, especially during a disaster, electricity is not sold via Griddy at excessive prices.

       84.     As the winter storm disaster emerged in February 2021, it was foreseeable to

Griddy and the energy sector that electricity prices would be excessively inflated due to the

measures taken to prevent the power grid from completely failing. Griddy sent an email as early

as February 15, 2021, recommending customers abandon its variable-rate plan.

       85.     Griddy had the ability, capacity, and contractual right to prevent charging

customers excessive prices during the disaster. Griddy controlled its services and platform and

oversaw pricing and contracting. Griddy may alter its electricity pricing. Consumers, who are

made to absorb inflated prices, often cannot afford unexpectedly large expenses and are greatly

penalized by not paying electricity bills, such as with penalties and the threat or reporting of

negative credit.

       86.     Griddy did not exercise ordinary care and comply with existing standards of care

when it failed to shield consumers from excessive electrical bills and to properly detect and react

to electricity market price increases.

       87.     Given the foreseeability of excessive prices during the winter storm, a reasonable

electricity provider in Griddy’s position would have had a system in place to prevent its customers




                                                  18
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 65 of 161




from being charged excessive prices and taken aggressive steps to prevent it. Griddy did not do

so, and instead, responded in an ineffective manner.

       88.     Griddy’s actions resulted in violations of the DTPA. The DTPA was designed to

protect Khoury and Class Members from being misled by Griddy’s variable-rate contracts,

experiencing price gouging during a disaster, and from suffering injuries. Accordingly, Griddy’s

conduct constitutes negligence per se.

       89.     Griddy’s negligence proximately caused damages to Khoury and Class Members.

Had Griddy exercised reasonable care, Khoury and Class Members would not have paid excessive

prices for electricity they purchased from Griddy. Khoury and Class Members are entitled to

compensatory and equitable damages.

                                   COUNT III: CONVERSION

       90.     The preceding paragraphs are incorporated by reference as if fully alleged herein.

       91.     Khoury and Class Members paid for electricity at excessive prices from Griddy.

       92.     Khoury and Class Members were entitled to keep the money withdrawn by Griddy

to pay for excessively priced electricity. Griddy illegally and unlawfully charged excessive prices.

       93.     Griddy exercised dominion and control over Khoury’s money and electrical

services. Griddy wrongfully withdrew from Khoury’s bank account and then retained the amount

Khoury paid for the excessively priced electricity.

       94.     Khoury expressed concern to Griddy about the withdrawals but never heard back.

Many Class Members demanded a refund, but Griddy refused.

       95.     Griddy’s interference damaged Khoury and Class Members.

       96.     Plaintiffs and Class Members seek a refund of withdrawn funds associated with

excessive pricing, as well as attorneys’ fees, costs, and interest.



                                                  19
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 66 of 161




                              COUNT IV: UNJUST ENRICHMENT

        97.     The preceding paragraphs are incorporated by reference as if fully alleged herein.

        98.     Griddy exploited vulnerable consumers by selling electricity at excessive prices

during Winter Storm Uri of February 2021. During power outages and other hardships, consumers

relied on Griddy for electricity and turned to Griddy to provide a service vital to their safety, health,

and well-being. Texas law, and basic principles of equity and fair dealing, prohibit sellers from

capitalizing on such exigencies and charging excessive prices.

        99.     By selling electricity at excessive prices during the storm, Griddy was unjustly

enriched. Griddy profited off the sale of electricity and retained the payments it acquired from

customers charged excessive prices for electricity.

        100.    Griddy knew it was overcharging consumers, that consumers would be harmed, and

Griddy would be unjustly enriched by retaining customers’ payments.

        101.    In the event Khoury and Class Members lack an adequate remedy at law, Griddy is

required to make restitution in equity pursuant to the common law of unjust enrichment.

                 COUNT V: DECLARATORY AND INJUNCTIVE RELIEF

        102.    The preceding paragraphs are incorporated by reference as if fully alleged herein.

        103.    An actual controversy has arisen and now exists between Khoury and the Class, on

the one hand, and Griddy, on the other, concerning prices charged for electricity during and

because of the winter storm.

        104.    Plaintiffs contend Griddy charged its customers excessive prices during the winter

storm. Therefore, Khoury requests the Court declare Griddy’s conduct unlawful to prevent future

controversies that would allow for continued injustices such as the present one, where an essential

service provider took advantage of masses of consumers.



                                                   20
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 67 of 161




       105.   Plaintiffs further seek an injunction enjoining Griddy from (1) any engagement in

the unlawful conduct of charging customers excessive prices during and because Winter Storm

Uri of February 2021; and (2) from billing and collecting payments from customers charged with

excessive prices during and because of Winter Storm Uri of February 2021 and ordering Griddy

to fully forgive any late or non-payments associated with such bills, including removing any

negative credit reporting and penalties, and to refund payments already made on such bills.

                           DAMAGES AND PRAYER FOR RELIEF

       WHEREFORE, Khoury, individually and on behalf of all others similarly situated, request

relief and judgment against Griddy as follows:

       a.     That the Court enter an order certifying the Class, appointing Khoury as a

representative of the Class, appointing Plaintiffs’ counsel as Class counsel, and directing that

reasonable notice of this action, as provided by Texas Rule of Civil Procedure 42(c), be given to

the Class;

       b.     For a judgment against Griddy for the causes of action alleged against it;

       c.     For damages in an amount to be proven at trial;

       d.     For an order of restitution and all other forms of equitable monetary relief;

       e.     Appoint a receiver or sequester Griddy’s assets if it has been ordered by this Court

to make restitution and Griddy has failed to do so within three months after the order to make

restitution has become final and non-appealable;

       f.     For a declaration that Griddy’s conduct as alleged herein is illegal and unlawful;

       g.     For appropriate injunctive relief, enjoining Griddy from continuing to engage in

illegal and unlawful conduct;

       h.     For all available actual, statutory, and/or treble damages;



                                                 21
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 68 of 161




       i.       For punitive damages;

       j.       For pre-judgment and post-judgment interest;

       k.       For Plaintiffs’ attorneys’ fees, costs, and expenses; and

       l.       For such other relief in law or equity as the Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury on all issues so triable.

March 2, 2021
                                                               Respectfully submitted,

                                                               THE POTTS LAW FIRM, LLP
                                                               /s/ Derek H. Potts
                                                               Derek H. Potts
                                                               Texas Bar No. 24073727
                                                               J. Ryan Fowler
                                                               Texas Bar No. 24058357
                                                               Batami Baskin
                                                               Texas Bar No. 24078206
                                                               POTTS LAW FIRM, LLP
                                                               3737 Buffalo Speedway, Suite 1900
                                                               Houston, Texas 77098
                                                               Tel: (713) 963-8881
                                                               Email: dpotts@potts-law.com

                                                               ATTORNEYS FOR PLAINTIFFS




                                                  22
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 69 of 161




                                  CERTIFICATE OF SERVICE

       Pursuant to the Texas Rules of Civil Procedure, I hereby certify that the foregoing was served

on all parties on this 2nd day of March 2021.

                                                             /s/ Derek H. Potts
                                                             Derek H. Potts




                                                23
        Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 70 of 161

A
                           PROCLAMATION
                                                BY THE




TO ALL TO WHOM THESE PRESENTS SHALL COME:



      I, GREG ABBOTT, Governor of the State of Texas, do hereby certify that severe winter
      weather poses an imminent threat of widespread and severe property damage, injury, and
      loss of life due to prolonged freezing temperatures, heavy snow, and freezing rain
      statewide.

      THEREFORE, in accordance with the authority vested in me by Section 418.014 of the
      Texas Government Code, I do hereby declare a state of disaster in all 254 counties based
      on the existence of such threat.

      Pursuant to Section 418.017 of the code, I authorize the use of all available resources of
      state government and of political subdivisions that are reasonably necessary to cope with
      this disaster.

      Pursuant to Section 418.016 of the code, any regulatory statute prescribing the procedures
      for conduct of state business or any order or rule of a state agency that would in any way
      prevent, hinder, or delay necessary action in coping with this disaster shall be suspended
      upon written approval of the Office of the Governor. However, to the extent that the
      enforcement of any state statute or administrative rule regarding contracting or
      procurement would impede any state agency's emergency response that is necessary to
      protect life or property threatened by this declared disaster, I hereby authorize the
      suspension of such statutes and rules for the duration of this declared disaster.

      In accordance with the statutory requirements, copies of this proclamation shall be filed
      with the applicable authorities.

                                                   IN TESTIMONY WHEREOF, I have
                                                   hereunto signed my name and have
                                                   officially caused the Seal of State to be
                                                   affixed at my office in the City of
                                                   Austin, Texas, this the 12th day of
                                                   February, 2021.




                                                   GREG ABBOTT
                                                   Governor



                                                                               FILED IN THE OFF:CE OF THE
                                                                                  SECRETARY OF STATE
                                                                                   3: .30p,1M,O'CLOCK
                                                                                     FEB 1 2 2021
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 71 of 161
B   Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 72 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 73 of 161
        Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 74 of 161




You already prepaid for $49 worth of electricity, which will be debited daily based on

      the electricity you use. When your account balance reaches $25, you will

 automatically be recharged $49. You can change your recharge amount at any time

                           by going to Settings > Recharge.


 Pro Tip: You do not have to wait for an automatic recharge to occur. Instead, go to

  Add Funds under account settings and add any amount for a one-time payment.




We never markup the price of electricity so you always pay what it costs on the grid at

 that moment. Not only is it the fairest deal in town, but the wholesale price has been

          lower than the Texas Average for the last five years and counting!




                                           3
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 75 of 161




We will send you monthly savings summaries that compares your Griddy rate to the

Texas Average. We’ll also throw some cat gifs in there to make those savings extra

                                      special.




  The Griddy app is one of the niftiest tools around and will help you control your

usage. You can check the current price of electricity at any time of the day, see how

 much you have spent to-date, and track your electricity usage monthly, daily and

                                       hourly.




                                          4
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 76 of 161
           Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 77 of 161

                                         Your Rights as a Customer




Copyright © 2019 Griddy Energy LLC, All rights reserved.

11811 North Freeway, #546
Houston, TX 77060




                                                           6
    Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 78 of 161

C
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 79 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 80 of 161
    Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 81 of 161

D
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 82 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 83 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 84 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 85 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 86 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 87 of 161
    Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 88 of 161

E
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 89 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 90 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 91 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 92 of 161
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 93 of 161




                   Exhibit 5
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 94 of 161                               3/8/2021 12:07 PM
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 51244799
                                                                                                     By: EVELYN PALMER
                                    CAUSE NO. 2021-10004                                          Filed: 3/8/2021 12:07 PM


 LISA KHOURY, Individually and on                §             IN THE DISTRICT COURT OF
 Behalf of all Others Similarly Situated,        §
                                                 §
         Plaintiffs,                             §
                                                 §
 vs.                                             §                 HARRIS COUNTY, TEXAS
                                                 §
 GRIDDY ENERGY LLC and                           §
 GRIDDY HOLDINGS LLC,                            §
                                                 §
         Defendants.                             §                 133rd JUDICIAL DISTRICT

                                                                    JURY TRIAL DEMANDED

             PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING
                     ORDER AND PRELIMINARY INJUNCTION

        Plaintiffs Lisa Khoury, Individually and on Behalf of all Others Similarly Situated (“Class

Members”), file this Application for Temporary Restraining Order and Preliminary Injunction to

prevent Defendants (collectively “Griddy”) from: (1) destroying, altering, deleting, changing,

removing, modifying, purging, or otherwise tampering with the evidence, documents,

communications, or equipment related to the events giving rise to this litigation; (2) misallocating,

siphoning off, and draining accounts, assets, and funds to limit payment of damages to customers,

and (3) automatically debiting payments from customers charged with excessive prices during and

because of Winter Storm Uri of February 2021, and any reporting to credit agencies of late or

missed payments and would respectfully show as follows:

                                  FACTUAL BACKGROUND

        1.     Griddy is a Texas wholesale electricity provider. Griddy customers pay $9.99 for a

monthly fee and the cost of spot power trades on Texas’s power grid based on the time of day they

use power. The media reports Griddy had 29,000 customers. Texas maintains a deregulated

electricity market in which the Electric Reliability Council of Texas (“ERCOT”) works with utility

providers to manage the power grid.
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 95 of 161


       2.      On February 12, 2021, Governor Greg Abbott declared a state of disaster in all

Texas counties due to the severe winter weather.

       3.      By February 14, 2021, ERCOT announced that rolling outages would be imposed

to avoid a complete system breakdown. Millions of Texans ended up without power for days and

suffered from water and food shortages, property damage, and other hardships.

       4.      Texans received outrageous electricity bills from variable-rate electricity service

providers, like Griddy. Spot electricity prices soared to $9,000 per megawatt hour from the pre-

storm rate of less than $50 per megawatt hour. Khoury’s typical monthly electricity bills averaged

around $200 to $250. But, her final electricity bill, dated February 1 to 19, 2021, totaled

$10,995.46. Some customers received bills as high as $17,000.

       5.      Of the final bill, Khoury paid Griddy $1,200 and allegedly still owes $9,683.88.

During the winter storm, Griddy automatically withdrew $150 eight times from her bank account.

       6.      The Texas power grid returned to functionality on February 19, 2021.

       7.      On February 19, 2021, ERCOT issued a notice (W-A021921-01) due to Griddy’s

failure to pay an invoice, with the short pay equal to $1,184,604.79.1

       8.      On February 22, 2021, the Public Utility Commission (“PUC”) issued two orders

to temporarily stop electricity providers from disconnecting services for non-payment and to

continue offering deferred payment plans.2 PUC also “urged retail electric providers to delay

invoicing” for customers.3

       9.      After Khoury and Class Members originally filed this matter, on February 23, 2021,

ERCOT issued an additional notice (W-A021921-02) that Griddy owed $1,561,870.12.4



1
  http://www.ercot.com/services/comm/mkt_notices/archives/5231
2
  https://www.puc.texas.gov/51812RuleExceptions.pdf;
https://www.puc.texas.gov/51812ERCOTProtocolActions.pdf
3
  https://www.puc.texas.gov/agency/resources/pubs/news/2021/PUCTX-REL-COLD21-022121-EOM.pdf
4
  http://www.ercot.com/services/comm/mkt_notices/archives/5241

                                                 2
         Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 96 of 161


          10.      On February 26, 2021, ERCOT issued a notice (M-G022621-01) revoking Griddy’s

access to the Texas power grid due to a payment breach and transitioning Griddy’s remaining

customers to other providers.5 The media reports 10,100 customers were transitioned.

          11.      In response to ERCOT’s actions against it, Griddy posted an update on its website.

The update stated:

          What happens to my account balance?
          Winter Storm Uri resulted in uncertainty regarding the reliability of data received
          from meter reads and ERCOT concerning electricity actually used by customers.
          As such, we have paused further billing until we have more certainty regarding this
          data. We currently expect to issue final bills in less than 60 days indicating whether
          your account balance is positive or negative. When we determine a customer’s final
          account balance, if it is positive that amount will be refunded to you within 7 days.

          12.      On February 28, 2021, the Texas Attorney General filed suit against Griddy,

asserting DTPA violations and requesting a temporary injunction.

          13.      The outrageous bills from Griddy added to the stress and financial burden of

Khoury and Class Members, exacerbated amid a disaster. They feared and/or experienced bounced

checks, low balances, and negative credit reports.

                   APPLICATION FOR TEMPORARY RESTRAINING ORDER AND
                          PRELIMINARY INJUNCTIVE RELIEF

         14.       The purpose of a temporary restraining order and subsequently, a preliminary

injunction is to preserve the status quo pending trial. See Butnaru v. Ford Motor Co., 84 S.W.3d

198, 204 (Tex. 2002); Walling v. Metcalfe, 863 S.W.2d 56, 57 (Tex. 1993). The status quo is

defined as the last, actual, peaceable, uncontested status that preceded the pending controversy.

See In re Newton, 146 S.W.3d 648, 651 (Tex. 2004). This Application for Temporary Restraining

Order is authorized by Tex. Civ. Prac. & Rem. Code § 65.011.




5
    http://www.ercot.com/services/comm/mkt_notices/archives/5258

                                                       3
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 97 of 161


       15.     Plaintiffs seek such injunctive relief to preserve the critical evidence they will need

to prove their allegations and to prevent further harm. Unless this Court enters such protections,

Griddy may destroy, alter, delete, change, move, modify, purge, or otherwise tamper with the

evidence, documents, communications, or equipment related to the events giving rise to this

litigation, drain and misallocate its assets to avoid paying Khoury and Class Members damages,

and either force Khoury and Class Members to be subject to exorbitant electricity bills or to various

penalties in the event of a payment default.

       16.     It is probable that after a full and final hearing that Plaintiffs will be entitled to this

injunctive relief. The Texas Attorney General applied for a similar injunction on February 28,

2021. Plaintiffs are entitled to a temporary restraining order and preliminary injunction to preserve

the status quo, pending a judicial resolution, from all Defendants. See Butnaru, 84 S.W.3d at 204.

       17.     To obtain a temporary injunction, the applicant must plead and prove three specific

elements:

       a. A cause of action against the defendant;

       b. A probable right to the relief sought; and

       c. A probable, imminent, and irreparable injury in the interim.

Id. An injury is irreparable if the injured party cannot be adequately compensated in damages or

if the damages cannot be measured by any certain pecuniary standard. Id. In the case at hand,

Plaintiffs satisfy all three elements necessary for the issuance of an injunction.

       18.     First, Khoury and Class Members, through their First Amended Class Action

Petition, asserted viable causes of action against Griddy. The causes of action include violations

of the Deceptive Trade Practices Act (“DTPA”), negligence and negligence per se, conversion,

unjust enrichment, and declaratory and injunctive relief. All claims relate to Griddy’s unlawful

acts of charging excessive electricity prices to their customers during and because of Winter Storm


                                                   4
        Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 98 of 161


Uri of 2021. Plaintiffs’ injuries would never have occurred if it were not for Griddy’s unlawful

acts.

         19.   Second, the evidence demonstrates Khoury and Class Members will succeed on the

merits at trial. Khoury and Class Members support their causes of action against Griddy and show

Griddy did not have a right to market, misrepresent and/or sell its variable-rate electricity plans

and charge Khoury and Class Members the excessive prices it did during a disaster. Furthermore,

Griddy does not have the right to pursue collection efforts and penalize Khoury and Class Members

for non-payment.

         20.   An actual controversy has arisen and now exists between Khoury and Class

Members and Griddy regarding their respective rights and duties. Khoury and Class Members

contend Griddy unlawfully charged excessive electricity prices during a disaster and sold

unconscionable electricity service plans and was negligent in selling and maintaining its variable-

rate service plan. Furthermore, Griddy converted Khoury’s and Class Members’ property by

withdrawing directly from their accounts to satisfy the excessively priced electricity bills and were

unjustly enriched. A judicial declaration is necessary and appropriate under the circumstances so

that Khoury and Class Members may determine the rights, obligations, and duties owed by Griddy

and whether Griddy complied with the law.

         21.   Based upon the facts outlined herein and in Plaintiffs’ First Amended Class Action

Petition, Plaintiffs can demonstrate they have a probable right to the relief sought.

         22.   Third, if this application is not granted, Plaintiffs would face probable and

imminent harm. Plaintiffs risk forever losing the opportunity to properly investigate and litigate

their claims. Griddy and their employees, contractors, agents, servants, representatives, affiliated

entities, independent contractors, and any other party acting in concert with Defendants should be




                                                 5
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 99 of 161


restrained from destroying, altering, deleting, changing, modifying, purging, moving, and

otherwise tampering with potential evidence related to the winter storm.

       23.     Plaintiffs also face the risk of incurring further monetary losses. Griddy should be

prohibited from automatically charging customers debit/credit cards from bank and other accounts,

penalizing Khoury and Class Members, without allowing for a full determination on the merits of

their claims. Griddy should also be barred from siphoning off, misallocating, and draining assets

to avoid refunding Khoury and Class Members and paying off damages.

       24.     ERCOT and Griddy seem to be, at least partially, on board with such restrictions,

given their latest notices and updates. While Plaintiffs’ claims are pending, Griddy should be

formally precluded from pursuing business as usual and from any predatory practices and tactics.

       25.     Additionally, Plaintiffs would face irreparable injury. Once critical evidence is

destroyed or altered, it is gone forever. Plaintiffs would be unable to prove their cases and future

plaintiffs, which continue to increase daily, would be left with a tainted or incomplete evidentiary

record. Likewise, Griddy should be precluded from misallocating and draining its assets to avoid

fulfilling a judgment.

       26.     Plaintiffs also risk financial uncertainty and loss and a hole of debt that they would

unlikely emerge from unscathed. It is unfair to the consumer to face such severe repercussions

from receiving a minimal amount of electricity to survive during a disaster. Debt and negative

credit history cannot be easily or timely fixed and could inhibit certain job, housing, and other

opportunities. When faced with such unpleasant and unusual circumstances, Plaintiffs would be

discouraged from fully committing to prosecuting their claims.

       27.     The total amount of damages from these harms is incalculable and no subsequent

remedy at law could fix these harms once they happen. See Tel. Equip. Network, Inc. v.

TA/Westchase Place, Ltd., 80 S.W.3d 601, 610 (Tex. App.–Houston [1st Dist.] 2002, no pet.).


                                                 6
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 100 of 161


       28.     Given the above, this Court should sign an order for Griddy to fulfill three things.

       29.     First, Griddy must take the necessary steps to preserve evidence related to the

events giving rise to this class action, including but not limited to preserving communications,

electronically stored information, equipment, and physical evidence. This includes in part:

       a)      All communications regarding the Winter Storm Uri from January 1, 2021 to March
               1, 2021.

       b)      All communications with any government agency or employee, including but not
               limited to those communications with the City of Houston, Harris County, State of
               Texas, and/or federal government, regarding power outages and/or electricity
               pricing and/or or preparation for such from January 1, 2021 to March 1, 2021.

       c)      All communications regarding electricity pricing, power generation, and/or load
               shedding from January 1, 2021 to March 1, 2021.

       d)      All policies and procedures for decision-making on electricity pricing and/or
               choosing where to reduce, direct, and/or shut off power in the event of a power
               shortage, in place as of February 1, 2021.

       e)      All plans, directives, or programs in place as of February 1, 2021 for the prevention
               of price fluctuations and/or power outages and/or shortages in the event of cold
               weather.

       f)      All communications made to the public and/or customers in any form, including
               without limitation, communications made via social media platforms such as
               Facebook, Twitter, and/or Instagram regarding price fluctuations, power outages,
               rolling blackouts, and/or restoration of power, from February 1, 2021 to March 1,
               2021.

       g)      Audio recordings of all calls with customers regarding electricity prices and/or loss
               of power, for the period of February 1, 2021 to March 1, 2021.

       30.     Second, Griddy must not improperly syphon off, misallocate, or drain assets, funds,

and money.

       31.     Third, Griddy must not automatically debit payments from customers charged with

excessive prices during and because of Winter Storm Uri of February 2021, and Griddy must be

ordered to cease any reporting to credit agencies regarding late or missed payments and penalties.

                              WILLINGNESS TO POST BOND


                                                 7
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 101 of 161


       32.     There is no indication Defendants will suffer any cognizable harm during the time

that the temporary restraining order and preliminary injunction are in effect. This motion simply

requires a preservation of the status quo. Because, Defendants will not be harmed by the issuance

of the injunctive relief, Plaintiffs should not be required to post a bond.

       33.     If a bond was required to be posted, Khoury and the Class Members urge the Court

to impose a minimal amount for the bond due to the circumstances and facts at hand.

                 REQUEST FOR TEMPORARY INJUNCTION HEARING

       34.     Plaintiffs asks this Court to set their application for a temporary injunction for

hearing and issue a temporary injunction against Defendants.

                                             PRAYER

       WHEREFORE, Plaintiffs pray that this Honorable Court enter an order granting Plaintiffs’

Temporary Restraining Order and Preliminary Injunction, issue an order granting Plaintiffs’

requested relief and for such other relief, both general and special, at equity and in law, to which

Plaintiffs may be entitled.

                                                         Respectfully submitted,

                                                         THE POTTS LAW FIRM, LLP

                                                         /s/ Derek H. Potts
                                                         Derek H. Potts
                                                         Texas Bar No. 24073727
                                                         J. Ryan Fowler
                                                         Texas Bar No. 24058357
                                                         Batami Baskin
                                                         Texas Bar No. 24078206
                                                         THE POTTS LAW FIRM, LLP
                                                         3737 Buffalo Speedway, Suite 1900
                                                         Houston, Texas 77098
                                                         Tel: (713) 963-8881
                                                         Email: dpotts@potts-law.com
                                                         Email: rfowler@potts-law.com




                                                  8
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 102 of 161


                                                       /s/ Riley L. Burnett Jr.
                                                       Riley L. Burnett, Jr.
                                                       Texas Bar No. 3428900
                                                       Karen H. Beyea-Schroeder
                                                       Texas Bar No. 24054324
                                                       BURNETT LAW FIRM
                                                       3737 Buffalo Speedway, 18th Floor
                                                       Houston, Texas 77098
                                                       Telephone: (832) 413-4410
                                                       Email: rburnett@rburnettlaw.com
                                                       Email: karen.schroeder@rburnettlaw.com

                                                       ATTORNEYS FOR PLAINTIFFS


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing has been furnished
to the Registered Agents for all Defendants on this 8th day of March 2021. Defendants have not
yet appeared in this case, and I have been unable to serve them directly.


                                                     /s/ Derek Potts
                                                     Derek H. Potts


                             CERTIFICATE OF CONFERENCE

       I hereby certify that on this 8th day of March, 2021, I sent a copy of these Applications, a
declaration, and the proposed temporary restraining order to the Registered Agents for all
Defendants, along with email communication to the contacts on file with the Public Utility
Commission of Texas.


                                                     /s/ Derek Potts
                                                     Derek H. Potts




                                                9
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 103 of 161




                                    CAUSE NO. 2021-10004

LISA KHOURY, Individually and on                §               IN THE DISTRICT COURT OF
Behalf of all Others Similarly Situated,        §
                                                §
       Plaintiffs,                              §
                                                §
vs.                                             §                    HARRIS COUNTY, TEXAS
                                                §
GRIDDY ENERGY LLC and                           §
GRIDDY HOLDINGS LLC,                            §
                                                §
       Defendants.                              §                   133rd JUDICIAL DISTRICT

                                                                     JURY TRIAL DEMANDED

                           DECLARATION OF DEREK H. POTTS

       My name is Derek H. Potts and my address is 3737 Buffalo Speedway, Suite 1900,
 Houston, Texas 77098.

        I am over the age of twenty-one. I have I have never been convicted of a felony or a
 crime of moral turpitude, and I am in all respects competent to give this declaration. The
 statements in this declaration are based on my personal knowledge, and they are true and correct
 under penalty of perjury.

         I am an attorney and the owner and founder of The Potts Law Firm. I represent the
 Plaintiffs in the above captioned lawsuit.

        I attest that all facts stated in Plaintiffs’ Application for Temporary Restraining Order and
 Preliminary Injunction are true and correct and within my personal knowledge.

        Executed in the State of Texas on the 8th day of March 2021.


                                                                     /s/ Derek H. Potts
                                                                     Derek H. Potts
                                                                                3/8/202112:07:32PM
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 104 of 161
                                                              MarilynBurgess-DistrictClerk
                                                                                HarrisCounty
                                                                                EnvelopeNo:51244799
                                                                                By:PALMER,EVELYNJ
                                     CAUSE NO. 2021-10004                       Filed:3/8/202112:07:32PM

 LISA KHOURY, Individually and on                §              IN THE DISTRICT COURT OF
 Behalf of all Others Similarly Situated,        §
                                                 §
         Plaintiffs,                             §
                                                 §
 vs.                                             §                  HARRIS COUNTY, TEXAS
                                                 §
 GRIDDY ENERGY LLC and                           §
 GRIDDY HOLDINGS LLC,                            §
                                                 §
         Defendants.                             §                 133rd JUDICIAL DISTRICT

                                                                     JURY TRIAL DEMANDED

       TEMPORARY RESTRAINING ORDER AND ORDER SETTING HEARING
             ON APPLICATION FOR PRELIMINARY INJUNCTION

        On the date and time stated at the end of this Order, the Court heard Plaintiffs’ Application

for a Temporary Restraining Order. After considering the pleadings, exhibits, the arguments of

counsel at the hearing, and all other documents and evidence, the Court finds as follows:

        1.     Plaintiffs have asserted viable causes of action in this lawsuit against Defendants

Griddy Energy LLC and Griddy Holdings LLC. There is sufficient evidence presented in

Plaintiffs’ verified application to find that Plaintiffs are likely to prevail on their claims against

Defendants and have a probable right to do so.

        2.     If this application is not granted, harm is probable and imminent to Plaintiffs.

Plaintiffs will not be afforded the opportunity to properly investigate and litigate their claims and

to be compensated for their damages. They will also unfairly further lose their money and financial

stability and good standing.

        3.     Plaintiffs will suffer immediate and irreparable injury without this temporary

restraining order, because, if not entered, Plaintiffs risk forever losing the opportunity to properly

investigate and litigate their claims in the event Defendants, or their employees, contractors,

agents, servants, representatives, affiliated entities, independent contractors, or any other party

                                                 10
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 105 of 161


acting in concert with Defendants, destroys, alters, deletes, changes, modifies, purges, moves and

otherwise tampers with the potential evidence related to the excessive billing during and because

of Winter Storm Uri of 2021. In addition, Plaintiffs risk not being able to be properly compensated

for their damages and forever losing their financial stability and good standing. The total amount

of damages is incalculable and no subsequent remedy at law would fix this harm.

       It is therefore ORDERED that Plaintiffs’ Application for Temporary Restraining Order be

GRANTED.

       ACCORDINGLY, DEFENDANTS Griddy Energy LLC and Griddy Holdings LLC and

their employees, contractors, agents, servants, representatives, affiliated entities, independent

contractors, and any other party acting in concert with Defendants, are hereby ORDERED to:

   1) Refrain from destroying, altering, deleting, changing, modifying, purging, and/or
      otherwise tampering with any evidence, documents, communications, or equipment
      related or connected to the excessive billing in February 2021 giving rise to Plaintiffs’
      lawsuit.

   2) Take all necessary steps to preserve evidence related to the excessive billing in
      February 2021 and affiliated events, including but not limited to preserving all
      documents, communications, electronically stored information, equipment, and
      evidence including:

       a)      All communications regarding the Winter Storm Uri from January 1, 2021 to
               March 1, 2021.

       b)      All communications with any government agency or employee, including but
               not limited to those communications with the City of Houston, Harris County,
               State of Texas, and/or federal government, regarding power outages and/or
               electricity pricing and/or or preparation for such from January 1, 2021 to March
               1, 2021.


       c)      All communications regarding electricity pricing, power generation, and/or load
               shedding from January 1, 2021 to March 1, 2021.

       d)      All policies and procedures for decision-making on electricity pricing and/or
               choosing where to reduce, direct, and/or shut off power in the event of a power
               shortage, in place as of February 1, 2021.



                                                11
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 106 of 161


        e)     All plans, directives, or programs in place as of February 1, 2021 for the prevention
               of price fluctuations and/or power outages and/or shortages in the event of cold
               weather.

        f)     All communications made to the public and/or customers in any form, including
               without limitation, communications made via social media platforms such as
               Facebook, Twitter, and/or Instagram regarding price fluctuations, power outages,
               rolling blackouts, and/or restoration of power, from February 1, 2021 to March 1,
               2021.

        g)     Audio recordings of all calls with customers regarding electricity prices and/or loss
               of power, for the period of February 1, 2021 to March 1, 2021.

    3) Refrain from improperly syphoning off, misallocating, and draining assets, funds, or
       money.

    4) Refrain from automatically withdrawing payments from the bank, credit card, or other
       accounts of customers (including former customers) charged with excessive prices
       during and because of Winter Storm Uri of February 2021.

    5) Refrain from reporting to any credit agency any late or missed payments or penalties
       of customers..

        IT IS FURTHER ORDERED that this order shall be effective until the earlier of fourteen

(14) days from the date set forth below, or the date the Court issues a ruling on Plaintiffs’

Application for a Preliminary Injunction after proper notice to Defendants.

        IT IS FURTHER ORDERED that Plaintiffs’ Application for Preliminary Injunction shall

be heard on ___________________________, 2021, at ___________ o/clock __.m., in the

Courtroom of the _____________________ Judicial District Court of Harris County, Texas, to

show cause, if there be any, why a preliminary injunction should not be issued as requested by

Plaintiffs.

        IT IS FURTHER ORDERED that the Clerk of the Court shall issue a show-cause notice

to Defendants to appear at the hearing on Plaintiffs’ application for preliminary injunction.

        IT IS FURTHER ORDERED that the Clerk of the Court shall, on the filing by Plaintiffs,

issue the any required bond, and upon approving the same according to the law, issue a temporary



                                                12
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 107 of 161


restraining order containing mandatory injunctive relief in conformity with the law and the terms

of this order.

        IT IS FURTHER ORDERED that Plaintiffs shall execute and file with the Clerk of the

Court a bond in conformity with the law and in the amount of $__________________________.

        SIGNED on this the ______ day of _________________, 2021, at _______ o’clock



                                            _____________________________
                                            JUDGE PRESIDING




                                               13
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 108 of 161




                   Exhibit 6
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 109 of 161                              3/8/2021 1:01 PM
                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 51248385
                                                                                                        By: Keeley Hodgins
                                                                                                  Filed: 3/8/2021 1:01 PM

                                    CAUSE NO. 2021-10004

 LISA KHOURY, Individually and on               §             IN THE DISTRICT COURT OF
 Behalf of all Others Similarly Situated,       §
                                                §
         Plaintiffs,                            §                 HARRIS COUNTY, TEXAS
                                                §
 vs.                                            §
                                                §                133rd JUDICIAL DISTRICT
 GRIDDY ENERGY LLC and                          §
 GRIDDY HOLDINGS LLC,                           §
                                                §                JURY TRIAL DEMANDED
         Defendants.                            §



                         PLAINTIFFS’ NOTICE OF APPEARANCE

        COMES NOW, Riley L. Burnett, Jr., Attorney at Law, and files This Notice of
Appearance of Counsel for Lisa Khoury, Individually and on Behalf of all Others Similarly
Situated, who is the Plaintiffs in this case. All communications from the Court or counsel
regarding this case shall be sent to the undersigned as well as Potts Law Firm. If the undersigned
counsel has a chance of address, phone, fax or email, Counsel shall notify the Court and respective
counsel of such changes in a timely manner.
                                                       Respectfully submitted,

                                                       BURNETT LAW FIRM

                                                       /s/ Riley L. Burnett Jr.
                                                       Riley L. Burnett, Jr.
                                                       Texas Bar No. 3428900
                                                       Karen H. Beyea-Schroeder
                                                       Texas Bar No. 24054324
                                                       BURNETT LAW FIRM
                                                       3737 Buffalo Speedway, 18th Floor
                                                       Houston, Texas 77098
                                                       Telephone: (832) 413-4410
                                                       Email: rburnett@rburnettlaw.com
                                                       Email: karen.schroeder@rburnettlaw.com

                                                       ATTORNEYS FOR PLAINTIFFS
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 110 of 161




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing has been furnished
to the Registered Agents for all Defendants on this 8th day of March 2021. Defendants have not
yet appeared in this case, and I have been unable to serve them directly.


                                                     /s/ Riley L. Burnett, Jr.
                                                     Riley L. Burnett, Jr.




                                                2
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 111 of 161




                   Exhibit 7
       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 112 of 161                                3/8/2021 4:56 PM
                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                    Envelope No. 51267435
                                                                                                      By: EVELYN PALMER
                                                                                                    Filed: 3/8/2021 4:56 PM
                                     CAUSE NO. 2021-10004

 LISA KHOURY, Individually and on                §              IN THE DISTRICT COURT OF
 Behalf of all Others Similarly Situated,        §
                                                 §
         Plaintiffs,                             §
                                                 §
 vs.                                             §                  HARRIS COUNTY, TEXAS
                                                 §
 GRIDDY ENERGY LLC and                           §
 GRIDDY HOLDINGS LLC,                            §
                                                 §
         Defendants.                             §                 133rd JUDICIAL DISTRICT

                                                                      JURY TRIAL DEMANDED

                                     NOTICE OF HEARING

        Please take notice that the Application for Temporary Restraining Order and Preliminary

Injunction by Plaintiffs Lisa Khoury, Individually and on Behalf of all Other Similarly Situated,

is set for oral hearing via Zoom before the 151st Judicial District Court, The Honorable Judge

Mike Englehart on Monday, March 15, 2021 at 3:00 p.m.

        The following is the Zoom link sent by the Court for all parties to join at the scheduled date

and hearing time https://justex.zoom.us/j/81984285789.

                                                              Respectfully submitted,

                                                              THE POTTS LAW FIRM, LLP
                                                              /s/ Derek H. Potts
                                                              Derek H. Potts
                                                              Texas Bar No. 24073727
                                                              J. Ryan Fowler
                                                              Texas Bar No. 24058357
                                                              Batami Baskin
                                                              Texas Bar No. 24078206
                                                              POTTS LAW FIRM, LLP
                                                              3737 Buffalo Speedway, Suite 1900
                                                              Houston, Texas 77098
                                                              Tel: (713) 963-8881
                                                              Email: dpotts@potts-law.com

                                                              ATTORNEYS FOR PLAINTIFFS
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 113 of 161




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing has been furnished
to the Registered Agents for all Defendants through electronic mail this 8th day of March 2021.
Defendants have not yet appeared in this case, and I have been unable to serve them directly.


                                                            /s/ Derek Potts
                                                            Derek H. Potts




                                                2
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 114 of 161




                   Exhibit 8
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 115 of 161                                  3/9/2021 10:57 AM
                                                                                 Marilyn Burgess - District Clerk Harris County
                                                                                         Priscilla Colburn
                                                                                                      Envelope No. 51286320
                                                                                                          By: Brianna Denmon
                                                                                                  Paralegal
                                                                                                     Filed: 3/9/2021 10:57 AM
                                                                        3737 Buffalo Speedway, Suite 1900
                                                                                       Houston, TX 77098
                                                                                     Phone: 713-963-8881
                                                                                 pcolburn@potts-law.com




                                               March 9, 2021


Via Texas E-File
Clerk of Court
201 Caroline, 11th Floor
Houston, TX 77002

        Re: Cause No. 2021-10004; Lisa Khoury, Individually and on Behalf of all Others Similarly
Situate, v. Griddy Energy LLC and Griddy Holdings LLC.

Dear Clerk:

Plaintiff’s Amended Class Action Petition was filed on March 2, 2021, Plaintiffs’ Application for
Temporary Restraining Order and Preliminary Injunction as well as the Notice of Hearing was filed
on March 8, 2021. Service of Process is needed upon the defendants below for the three documents
listed above.

       Griddy Energy LLC
       c/o CT Corporation System
       1999 Bryan Street, Suite 900
       Dallas, TX 75201

       Griddy Holdings LLC
       c/o The Corporation Trust Company
       1209 Orange Street
       Wilmington, DE 19801

       Please issue and return the citation via electronic service, if available. Otherwise, please issue
       and return the citation to our office for personal use.


                                                        Thank you,


                                                        Priscilla Colburn
                                                        Priscilla Colburn
                                                        Paralegal


/pc
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 116 of 161




                   Exhibit 9
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 117 of 161                                   3/9/2021 4:41 PM
                                                                                 Marilyn Burgess - District Clerk Harris County
                                                                                         Priscilla Colburn
                                                                                                      Envelope No. 51312355
                                                                                                          By: Brianna Denmon
                                                                                                  Paralegal
                                                                                                      Filed: 3/9/2021 4:41 PM
                                                                        3737 Buffalo Speedway, Suite 1900
                                                                                       Houston, TX 77098
                                                                                     Phone: 713-963-8881
                                                                                 pcolburn@potts-law.com




                                               March 9, 2021


Via Texas E-File
Clerk of Court
201 Caroline, 11th Floor
Houston, TX 77002

        Re: Cause No. 2021-10004; Lisa Khoury, Individually and on Behalf of all Others Similarly
Situate, v. Griddy Energy LLC and Griddy Holdings LLC.

Dear Clerk:

Plaintiff’s Amended Class Action Petition was filed on March 2, 2021, Plaintiffs’ Application for
Temporary Restraining Order and Preliminary Injunction as well as the Notice of Hearing was filed
on March 8, 2021. Service of Process is needed upon the defendants below for the three documents
listed above.

       Griddy Energy LLC
       c/o CT Corporation System
       1999 Bryan Street, Suite 900
       Dallas, TX 75201

       Griddy Holdings LLC
       c/o The Corporation Trust Company
       1209 Orange Street
       Wilmington, DE 19801

       Please issue and return the citation via electronic service, if available. Otherwise, please issue
       and return the citation to our office for personal use.


                                                        Thank you,


                                                        Priscilla Colburn
                                                        Priscilla Colburn
                                                        Paralegal


/pc
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 118 of 161




                 Exhibit 10
        Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 119 of 161                                                         3/12/2021 10:41 AM
AFFIDAVIT A"ACHED                                                                                          Marilyn Burgess - District Clerk Harris County
                                                                                                                                Envelope No. 51418116
                                                    CAlisE .\'0. 2021 10004                                                           By: Keeley Hodgins
  rrip`` t`iF Pl+F„4DIN{; rJRO\tll`}F.[i 8\' {l{T                                                                            Filed: 3/12/2021 10:41 AM

                                                                                                        Receipt #: 893017
                                                                                                        TR#: 73848689


  PLAl\"lil.`I`-:     KHOURY. LISA {IND[VIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY
                                                                                 lnthe 133rd
                                                                                 Judic`'iaJ Distrii`t Court of
  Vs.                                                                                   Harris county, Texas

  DErE.`'DA`'T: GRIDDY ENERGY LLC


                                                    NOTICE (SHORT FORM)

  THE STATE 0F TEXAS
  C{!unty of Hanis

  TO:        The sheriff or any constable of TEXAS
            Or Other Authori7.ed Person

  YOU ARE HEREBY COMMANDED to serve

       GRIDDY HOLDINGS LLC BY SERVING ITS REGISTERED AGENT THE
  CORPORATION TRUST COMPANY
       1209 ORANGE STREET
            WILMINGTON DE 19801
  Whtt resides in the C(}un{}J ot. the State ot` TEXAS, with the accompanying certified c{)py ot` NOTICE OF
  HEARING.

  HEREl`' FAIL +\'OT` but {}t. thi.i ``{}tice nrake due return as the la\\.' directs.

  ISSUED A`'D GIVE`' U`rDER MY HA`'D A`'D SEAL OF SAID COURT a{ Houston. Texas. this day March 10.
  203 I .



                                                                                   mth higee
  Issued at r€qu€s{ {}f:                                                         Marilyn Bui.gcss, DISTRICT CI,ERR
  POTTS. DEREK HEATH                                                                    HARRIS COU.`-TY. I E X A S
  3737 BUFFALO SPEEDWAY` STE I                                                                ]01 Carolille. I-loiisLo]i` Texiis 77{M}:
  HOUSTO`Y` TX 77098                                                                          P.0. Box 4651. I]ouston. Texas 77210
  713-963-8881


  Bar +`.a: 24073727
                                                                                Generiit€d By: BRIA`++`'A I. DE`'.Via.\'




 AFFIDAVIT A"CHED
  Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 120 of 161




                                                                                                                                                                                                       T£±i€ife ±Stg fa¥ #i¥i {£gg=:g c ?.ife€&# €€{fgt=£




                                                                                                                        3j=`±#t£ *` E¥ E3 fiE Lj ±S€ E£ E i€i : £`€ §r£ ! i Sfj€£t++




i:E}. #¥ i gng*f-i 3= i`?7 E€=^ ¥-i i ¥¥ i i€ ¥                                              3 j¥ €€:a ;+-S € g fas 3 S i ¥ §-£~aS i, I is a , ±jr¥%` *S¥ ftt! rj ¥r}iis{ E.*¥ 3=Eg t4¥ .i` + f~ i¥ §r- I+¥ i i , i=±Tg€ L= EQ€ {£= £ ¥ ife;¥ .i i _ f`*ce_R a a fa-S


                                                                                                                                                                                                                           !Fi !*`€:: i .?_¥!-!i

          •`.r`.S
                                                                                                                                                                                                                           +¥ir!edi*i6£3       E35.*±g it:€        #€--¥€}E-§_


(.-)i




£±}`± i= F_ r* rj ife €fad T: €] 8 a Ej ij ¥' i=fl€€ E=~ff. € 3 ¥f g.` €`+€=                                                                                                                                               iiar{i+¥ *.¥L3i3t¥±¥r3 T|ts¥£s




                                                                                                           #F:8€ff€FfR£±S#f'§±±§`#3§€-i:££I±`5£:±fB#±sesSREtf€E3'i-'g;}RERE




€i#1il§ #, it;ii-Eat ai                                 ¥ t--§¥i                           *;¥   ij`Ltif3£13-:   -i:: -+   .fif.3-   €j¥i lit€    ti i        €E:i5f €}f. A._..q.¥=i|*i-a:&i&±..i::-t[... * _ ....`..-., _.._"„...„_ .... c ,.,.. „ ..........-,,... e.a =f i¥=_i

i€=#¥cL*£±di[t{nded£#STiLri-±=t.~~.r±._~±=±±*=rii±rij=Li¥*`ikL:`i±£±-~~,i!irijiLt¥«~_.,.r£`w`=i±`±±:--::,..i_...,fa..,.`_.„..,`,.i:.###g}'

Ej{£j2;LLrf;,ij±_.y{}t'£itt£`ii                                                                            {3lliite          *-a             d ¥}J €} £' --L±±±==.ch=±..a.xp,+[=,.a.«:a.,gig.3ch.e±.aahi_..a.co.a_=.r,ae``it=+ -REL±% fag-al€*E 3 ¥`:e:¥5`- {{}


{hf t`.*itiSi{£ n±3Infxl -                                                                               g>tr+ii i-I ;+ ri-` `F'3 £ .+                                             €--J- t`` i,*-¥.': `=     i   -=L9*.-


ifef as#£]m#±inyi]i¥

T¢ i:€¥¥jf*3-\±jfai£!¥ E Hffi+¥ {n}7 {±i*€td c}L#€i:t!]}j this                                                                                            d:1}J{}f=¥ife=
Irt€E£: g  T=-      "   .   -_.   ` -,-.   ` -----. =j+ .,,,--.- T`c i .--- r`,' -.,-. ;




                                                                                                                                                                                              !*f-                                                    £itiii!1i¥ t T€#fis


                                                                                                                                                                                                                 L}Ltpl,t}f




                                                          `+`:¥~€=,jf~`+```":f`=:.`;j`§ts¥=a€,+rf
{3i3 {fai`E dfi¥&                                                                                                                                i ki.t{]\t.n Lij Ftt€ k.i fo±L ijis± p±i+`€8It `±rhfl#€ £igI]€iiiifg it±¥r¥g=££.fi [`7n {fae

ft}rfg€iift£¥ i.€±limq #EE'£€3£i#J{Sf xppe&f€#,                                                                       ffi#£i-{3e±#g b5 riFi€ alu}±J S`t..€!rii+ !iej`sfag. #€fi{r=} €± #±at {}tit€ i+i!#1i€i!t gra£ £±xfi`il{£d

iij,' hiiii#+i53~ ice €fa€= g,~£#£+i iiii{{|i}¥i+ tei=mi£€d {3r¥ ifeg ¥giHri!.

[¥wGR{ng+mA*{IisijBtsf<!#]BEBBE{+-SRE.aeEunrii±E=¥|E:j±±g±±_£=±_=|_______==.___+3t3±+`t
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 121 of 161




                 Exhibit 11
             Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 122 of 161                                                        3/12/2021 10:41 AM
                                                                                                               Marilyn Burgess - District Clerk Harris County
AFFIDAVIT A"ACHED                                                                                                                   Envelope No. 51418116
                                                                   CALisE `:0. 202110004                                                  By: Keeley Hodgins
    €'{ !p\+ i iF PLE-I:.-\r)If`t€; pR{ !\'Ir}F.D 8\' pi.T
                                                                                                                                 Filed: 3/12/2021 10:41 AM
                                                                                                             Receipt #: 893017
                                                                                                             TR#: 73848783


    pLAi`"I-i[I.r:         KHOLiRY. LISA {INDIVIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY
                                                                                           lnthe 133rd
                                                                                           Judicial District Court {)f
    Vs.                                                                                       Harris county, Texas

    DEl-`E`'DA`'T: GRIDDY ENERGY LLC


                                                               LNOTICE {SHORT FORM}

    THE STATE OF` TEXAS
    Count}f of Harris

    TO:           The sheriff or an}f constable of TEXAS
                 Or Other Authorized Person

    YOU ARE HEREBY COMMANDED to serve

         GRIDDY HOLDINGS LLC BY SERVING ITS REGISTERED AGENT THE
    CORPORATION TRUST COMPANY
         1209 ORANGE STREET
                 WILMINGTON DE ]9801
    Who re.tide.i in the County t)i the State {}f -rEXAS. with the ac`c`ompanying certified copy {]f` PLAINTIFFS
    APPLICATION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION.

    fiEREI\t FAIL +\'OT. but {}f+ this +\'{)tice make due return as the law direct``.

    ISSUED A`tD GIVE`t U`'l)ER MY HA`'D A`'D SEAL 01.` SAID COURT at Houston. Texas, this day March 10.
    303 i `
    __________




                                                                                             mdr higee
    Issued at request {]f:                                   ,.i                           Marilyn But.gcss, l}ISTRICT CI,ERR
    POTTS. DEREK HEATH                                                                              HARRls cou.`'Ty. 'r E x A s
    3*7BUF`FALOSPEEDWAY`STEl90i:={                                                                  201 Caroline. [loiislt}n. Texiis 77"}2
    HOUSTO.\'` TX 77098                                                                             P.O. Box 4651. I]ouston. Texas 77310
    7 I 3.963.888 ,                                          I.


    Bar +\'o: 24073727
                                                                                           Generated By: BRIA`'`'A J. DE`',MO.\'




    AFFIDAVIT AmACHED
  Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 123 of 161




                                                                                                                                                                          i fj{f£=i±ii3g r`€t{5€ig3£¥£`                      ?*3#,,:~€#¥g+-i




                                                                                 ftr` fS L; i=j ±+€ fr± iJ £-¥S S f; # : =t€j4E i i #iig-3*



pi. .,figg*Tgfai!~¥== si-E¥t€ }€ ji-€if                i i_g+ng j¥fngrs{tj§E+}t I+#€±`i § ¥ f±.ri±=r± €+`¥nI i3fr`jffffi_i i'+ g~3ir ,a€ _i                                                              £iTg#=B_.`€_; {S'Egivr¥aij*._g¥¥+.r¥


                                                                                                                                                                                                      !!t #i.f= -i -iJ5}itii


                                                                                                                                                                                                      FLi€ij+.i±al       #i+q€-9 t£'g        f.`{¥ia§i




                                                                                                                                                                                                      i 8&i-ii3q {:€!i±i#¥-i li-?a a:fa




                                                                €±FFf€.:£:RTs3+_i_3lTf§aeF€FrgE=$3t5£ulse`#€f}]##gif€±+€j±€±#




£!-d{#£3 {t`:t keiig+i§ #€          ¥f rf£.   T-3   ~` €±-£3{fal|±                           € ii¥ [¥t£ ?---:titia--~--.- ii:i:± {¥f-*.-giv<±>`=ii>==-roi:--=:i==....-.-.-,- `.-^.-p,a .,--- F ---- ``-i.~vi±,I, -aEh :3f-i i-I:=-
                                                                                       -`.            a--is      -a       -tit   3J`3t-=t£        -trt=i+--

L3X#€#±g{!±|€i'€iii€!i€¥`i+ill_&ir=ji¥==|±`:=i=±==``g~..=Sxp,_=¥t=_+_~_~___._.`_._.`__``±rfL=~{±i_±==±£±±-__±=L=i:`|¥j=±th*rfeL_=-_i::€}u£3£.¥
       \                    -..r`

fitLx8isL€±in^£i_j3'`*Ii{t€`£€                                  {1tstjlg            €±!!                  da}f !}f                                                                       -_.__ce+ :3{}_±¥+ ii}r al#±ii-.#¥ i+ {{}
                                                                                                                           sgs       ±€-`tgr ±f±-: i---+
tile \*'iffui ri n€~iltig€{                                   !--, i   i``l    ig* ----aa i+i-_                                                                                          i         5i!|_a-:i   f-`~`-a` -~i[-+ ¥-+``j i --   -¥.+


i!l# fi#€f,f!, :i}f!]¥¥t l}g                                                         f-       g `tsg--€       t=£ f-itr          =%-ts €`Lxps f i,{3


i`ii €Br{St`¥2 t±ifajt`Et } €if'fijt-m}f !{{tfifi ofr{L`iili!¥ fills riir i{a}+ {!~f |=is#=.L5L'~*.=±ri-±± _ _._ . 1 ~T_._ + +~_.~`__. .* 3€jj3`+ s3€

FEE: 8     -_ -I-r-I-C---I-- +




                                                                                                                                                                  {,f _                            _._____ ..... _.,.f:i ,# iii}` ± +r€ -¥-EL*


                                                                                                                                                                                   #L3Pt,itt!}




#il i!,i!! dar¥`                                                                                                3 krt{iis-tit E{] ffig i€¥ hg {h€ ?Ir+q#it tt;fFi€3^q€ s`i¥Eiii±LiT`E Ltpp€&rs #tt the

fr3ffg{Iin¥ re±t{¥_{t± ptfa!+s{}fEiiii}, ;tppe&r££i,                               fifi€f *g{iig b5J !il€ dtsj¥ rq`t!i}±f!` heJjife€ F*€€ifgd {h&i €hit5 Lit.uti;{i# }¥a+¥` ex#L*iif€{J

i3}j !t±Lltfht=±' ±±± iha €r¥&t`€ ti!iiFiji££-E.£i`i€L=ri fljt rfe€ rE€H€.Ei,

                                                                                                                                                  ¥`tfangT++a±!    £`[.=, -Q¥. i* ~`¥r       3`t
+5%f#kft:T-#Afai3stjBE{-.'RiBg#Bi±i.{il{[.;+seEfinrijE=i_

                                                                                                                                                                             FF¢f:try pttkiic




                                                                                                                                     EE
                                                                                                                                   *---
                                                                                                                                             #
                                                                                                                                      E=
                                                                         -
                                                                         2-.
                                                                         E=
                                                                          a~
                                                                                                                                      `_------
                                                                                                                                       i.-
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 124 of 161




                 Exhibit 12
                  Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 125 of 161                                  3/12/2021 10:41 AM
                                                                                              Marilyn Burgess - District Clerk Harris County
AFFIDAvlT ATrACHED                                                                                                 Envelope No. 51418116
                                                             CAUSE NO. 202110004                                         By: Keeley Hodgins
                                                                                                                Filed: 3/12/2021 10:41 AM
i-`{.`3+3+' {iF [3LL,.\Li|.\<{i riit£!\!ti[3£=Lj t3y PLT

                                                                                                   RECEIPT No: 893017
                                                                                                   TRACKING #: 73848679
Plaintiff: KHOURY. LISA {]NDIVIDUALLY AND 0N BEHALF OF                             In The 133rd
ALL OTHERS SIMILARLY
                                                                                   Judicial District Court of
VS.                                                                                Harris County` Texas
Defendant: GRIDDY ENERGY LLC
                                                                                   Houston. Texfls
                                                           CITATION - NON RESIDENT
THE STATE 0F TEXAS
County of Harris

To:  GRIDDY HOLDINGS LLC BY SERVING ITS REGISTERED AGENT THE CORPORATION
TRUST COMPANY
          1209 ORANGE STREET
          WILMINGTON DE 1980]

          Attached is a copy or: PLAINTIFFS FIRST AMENDED CLASS ACTION PETITION

This instrument was riled on 3/2/2021. in the above cilcd cause number and courL The instrumcitt attached
describes Lhc claim against you.

          YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not rilc a written
answer with lhg District Clerk who issued this citation by 10:0(} a.in. on the Monday next follovI..ing the expiration
date ol` 20 days after you were .icrved this citation a]id petition. a default judgment may bc thkcn against you. In
addition to riling a written &nswer with the clerk. you may be required to make initial disclosures to the other
partii-s of this suit. Th€si-disclosures genera]l}J mu*l bc made no lalcr than 30 days after you file your answer with
the clerk. Find out mo].a at TcxasLawHelp.org.

This citation was issued on March ]0. 2021. under my hand and seal of said court.




                                                                                     mth f rogee
Isf ued at the request or:                                                           Marilyn Burgess. District Clerk
PORTS. DEREk HEATH                                                                   Harris County, Texas
3737 BUFFALO SPEEDWAY. STE l9cO                                                      201 Carolinc. Houston Texas 77{}{}2
HOUSTON. TX 77098                                                                    {`PO Box 4651` Houston. Texas 77210}
713-963-8881


Bar Number: 24073727
                                                                                       Generated By: BRIANNA J. DENMON




             AFFIDAVIT A/[TACHED
                       Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 126 of 161




                                                                                                                                                  fit.f_i.i:ki€±g=--``!!ii`{i3gf*?.¥€*#r€¥€3+j£#±




                                                                                                   ¥-I:>ff¥ ELi # £F. fat i i kf¥ S% F±% 3 ¥,#?t a £ €REts£



#g€+Sfaffa'€g€g#+gr = EL gfseg!ee*J 3 §~g€¥+fe ii,inga3ES. ±g5aLf££a§ts-¥` fa.xp€B €`jtse: asp+£€.fas £g igB+ ff&g.+a` * a g¥g§jifes L*i±*r¥gi..j%. gfgas{                                                    g¥a gg¥** a.%.S¥F`§


           ¥?t%¥                                                                                                                                                   ±g g££¥§€.`fi£E3 R¥ig€¥rs¥*±€ fr:€±S.§¥€ Sgg.


g¥a±i.8futsfi±£.se[¥¥8.`E.€ka£`BS:¥Sgfg€.¥glSg=S¥#*.ae#iE¥#¥-¥_+gu*t                                                                                               E,g€§3frito8±€it€#Q§gT±i+}J¥r5tg`z¥ifet8




                                                                           a-j¥;g.¥r_th_ 88` ~ # fL3gTfi€=3i€.g¥gF.± €-3Efse {g€±fa€ g¥i E±.¥gj g€t5i

                                                              :.i.




ih.*€€iEi€¥ Ei§ §itt!3€i itg i.±±_i `S.2` ;¥5-*:=€¥SLii{¥-i`f¥£: _a¥£i                                   RE. €=3¥3    i_iiii _±>_j`{=_..___       i¥i¥;g< !¥f _`` ±`::s€ i_.a:..`.i`=`= 3`.`=±~~_..*`._I___.__5 ±±.¥`£.a+_I.±£         A

gE,-*;£i,€tii€t€r!g3_i



€ffef}€igftfafa~L`_fir`ck€~S.=i~_.h±=j-h#=±~i~+3ngk*-==;5+--i=~-*~£;i++i'ij¥4*=k-¥~£~iif=:-ig~`±¥*`L~=*=L~~ii====~-€§~fri;:a-=fs
_ i ,,.. a_.,._.._.      ±§t       ¥±._js€ *€ae=`±_co.i_:`==€.=*=¥3*£_S£_                        i.me:gj£5¥t{±,                                       `..i               RfgS        €`3gt      fjtt=
~~_~.+~ _ . ¥th.>±;fai.j±;±_._.i ...... ` ......,. `.`^.~~`.` ,... ~ a ri±{.i ±.,,;==fsi ~ `±i~ 6 ¥¥*f



#€ii¥Liin*¥iG__#¥`±+.¥=i;£_±=`i±L§=ts=iL='=fro.iJL€L=ihii.gjLf-+±£=±                                                                                     ±:faal€fafi€!Bfi£` ii¥` pLi£SItt # a-£,££ €-#¥¥ i-!iap irljB
€'i£#€i## i#gfifegi+ i#.+i{fa ` iri€ ag€Smpa{¥¥irt8 ir £Gp}J {igs} ftf {feS ndi_¥ff¥¥ff.g+¥fa.¥_`=~±L_~~eg£.:i=:g__±=_i_+_i=-i_.7-                                                                                             #giiiiL3±|
a[t#cltgd rfu€f€€# -and I fr±dsf`ti€ed #n £Hid €ap}f #f ih£-€ifilti#n th# da€t` of de!i¥eriJ.

                                                                                                                                                              #f    ¥-*--ifei sg*-+2g---€=




FLtg-`E 'S_ul---" -.--+-




                                                                                                                                                                                                Bgput¥


#n ¥j¥i# *¢q* ndL=ii±±ng=j=gg=±E¥di_=___I,_._.__``__. __I__,._______rj_i kll{=Ii&'±t i# iiigj ¥f± faib', #¥€ ±iers€±ft apii{ise
`*:iLftifitL£±T: £i£#|3i€;i,i..t*, €3r± E£¥Lt f€¥rL`g$3¢ng tF€i£±iii„ pE!-s.#±3±t! !}f ±i!3p££Lrg#+                                            43ffg,f fa#i!ig fa}J !iiLt edL{I}J i;t¥*,j€+3r#`€ iiLSffg?tit Sia£€=at €E¥i{f.
iilis gi{#±jSii wz±Eq. t¥#£*LiiL£€! b¥ hig3i#t€€` iH {fa€i €faafl !ii#nti€:r i-±=#ii€d G!t th€_a ELi££#it¢


SWSRN TG ArsE £UE£€RIBEB BEF€jRE MEt #n rfui{q JL da}J Gf
Z8rfu+
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 127 of 161




                 Exhibit 13
        Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 128 of 161                                                     3/12/2021 2:05 PM
AFFIDAvlT ATTACHED                                                                                    Marilyn Burgess - District Clerk Harris County
                                                                                                                           Envelope No. 51431539
                                                   CAUSE `'0. 2021 lt}004                                                    By: EVELYN PALMER
  {'{!Pt tiF p}E.+\r!}f`-{; r]Ro\113F.D 8`. pi.T                                                                          Filed: 3/12/2021 2:05 PM
                                                                                                    Receipt #: 89301
                                                                                                    TR#: 73848686


  PLAl`'Tll.`I<`:        KHOURY. LISA {IND[VIDliALLY AND ON BEHALF OF ALL OTHERS SIMILARLY
                                                                                lnthe 133rd
                                                                                Judic`iiLI Distrii`t Court of
  Vs.                                                                              Haris county. Texas

  DEI<¥`'DA`"I: C]RIDDY ENERGY LLC


                                                   NOTICE {StlottT I;OHM)

  THE STATE OF TEXAS
  Count}7 of Harris

  TO:         The sheriff or any constable of Texas
             Or Other Authori7.ed Person

  YOU ARE HEREBY COMMANDED to serve

       GRIDDY ENERGY LLC MAY BE SERVED BY SERVING ITS REGISTERED
   AGENT CT CORPORATION SYSTEM
        1999 BRYAN STREET SUITE 900
       DALLAS TX 75201
  Who re5ide5 in the C{]unty ot. the State {)t-TEXAS. with the acc`onipal`ying certified c{)py {]f NOTICE OF
   HEARING.

   HEREl`' FAIL +\'OT. but ot. this +\'{}tice make due return as the la\\.' directs.

   ISSUED A`'D GIVE+\. U`'DER MY HA`'D A`'D SEAL OF` SAID COURT at Houston. Texas. this day March 10.
  EL.

                                                                                  mth higca
   Issued at reqLI€st {}f:                                                      Minlyn Burgess, I}ISTRICT CI.ERR
   POTTS. DEREK HEATH                                                                     HARRIS COU:\'TY. I E X A S
   3737 But+`I+`AL0 SPEEDWAY. STE I                                                       201 Car{iline. I-louslt}n. Tcxiis 77{H}2
   HOUSTO``. TX 77098                                                                     P.0. Box 4651. IIous{on. T€x.qs 77210
  713-{j63 -8881


   Bar +`.{]: 24073727
                                                                               Generated B}f: BRIA`'^\'A I. DE`'MO`'




 AFFIDAVIT A"CHED
 Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 129 of 161




                                                 Officer or Authorized return

 Cane to hand on the ±|£ELday of MachAELn 2fl.2.1_, at. a=se9.±±:d9£!S±
 ±±4LandexecutedbydeliveringH_§a¥g,¥.ry_¥s._Grid=±¥.__En_eigr±±fln_oti€=€_±[herfuH_I_
 ±±±g±±gb._rsgi.s±er§±±ge±±.._±!a±!en±±Beg±s±e.red_.Ag.a.a±s=!.n.a_a.gee!±±e£Li?y+a±±±¥a
 Sterns on the ±2±!±±a±± of _.Ma±=e!± _.4.__P=__2Q21 L=j}±.:_=1.Q:±2§_Q=alQck__._4ife4±,_the
 within named defendant, in person, a true copy of this Citation, together with a copy of
 original petition with date of service marked thereon, at the following location, Jses
 Brvan Street, Suite 900 Dallas Texas 75201




Notice No. 202110004
 --   __-__I   -___==   ----- i-==`_:_ .-..---




Notice of Hearing


 Witness Fee:
 For mileage
 ForNotary




                                                                                PSC 4688 expires 2/28/2022
                                                        Dave Valfer, 1801 Vassal Drive Richardson, Texas
                                                                      Authoriaed Person


 COMPLEIE IF YOU ARE A PERSON CITHER THAN A SHERIFF, CONSTABLE. OR CLERK OF THE COURT.
 in accordance with RLite 107: The officer or authorized person who serves, or 3tternpts to sowe, a cltatlon shall sbn the rcturfi The
 sisnature 1§ nct required to be verified, if the petum is §isned by a person other than 8 shen.ff, constable. or the clerk of the court, the
 rotum shafl be sisned under penafty Of periury and contain the following statement:




 Mynameis_a_a_¥_e_¥a±ifer

 My date of birth i§;             Jutw 2.1960         and my addrees i8; 1801 Vascar Drive Richardson Texas 7cO81
                                                                                 Dallas County. Texas

 I DECLARE UNDER PENALTY OF PERJURY THAT THI} FOREGOING IS TRUE AND
 CORRECT.
             Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 130 of 161


Dave Vaffer

From:                              CLS~SC}PDALTEAM©WOLTERSKLUWER.COM
5ant:                              Friday, March 12, 2021 10:28 AM
To:                                premierprocess@swbell.net
Subject:                           Intake Portal -Jc>b #56264 has been received




Hello David Valfer,


We confirm receipt of the following documents via the Intake Portal on the date, time and location indicated below,

Date: Fri, Mar 12, 2021
Time: 10:28 AM CST
Name: David Va!fer
Juris Served: TX
Job lD: S6264




  GR{DDY ENERGY LLC                            {NCORP SERVICES, INC.                             202110cO4

  GR!DDY ENERGY LLC                            [NCORP SERVICES, lNC.                             202110004

  GRIDDY ENERGY LLC                            ]NCORP SERVICES, ]NC.                             202110004


You can also view the status of jobs you at
https://intake.ctcorporation.com/

Thank you
Intake Specialist: Latoya Sterns
CT Corporation, a Waiters Kluwer Company




                                                            1
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 131 of 161




                 Exhibit 14
                         Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 132 of 161                                                         3/12/2021 2:05 PM
AFFIDAVIT ATTACHED                                                                                                         Marilyn Burgess - District Clerk Harris County
                                                                                                                                                Envelope No. 51431539
                                                                               CAUSE `'0. 202110004                                               By: EVELYN PALMER
   ft!p`                      {3f-pi~E.\{3iN€; pR{!\'}r3r:.r3 8`-r]i.T                                                                         Filed: 3/12/2021 2:05 PM
                                                                                                                         Receipt #: 893017
                                                                                                                         TR#: 73848782


   PLAl`'TII<.l{.:                           KHOURY. LISA {IND[VIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY
                                                                                                      lnthe 133rd
                                                                                                      JLidii`i3l District Court of
   Vs.                                                                                                   H{irris county, Texas

   DEFE`'DAr`'T: GRIDDY ENERGY LLC


                                                                           NOTICE (SHC}RT FORM)

   THE STATE 0F TEXAS
   Count}7 of Harris

   TO:                            The hfriff or any constable of TEXAS
                                 Or Other Authori?.ed Person

   YOU ARE HEREBY COMMANDED to serve

       GRIDDY ENERGY LLC MAY BE SERVED BY SERVING ITS REGISTERED
   AGENT CT CORPORATION SYSTEM
        1999 BRYAN STREET SUITE 900
                                 DALLAS TX 75201
   Who reside.a in the C{]unry of the State t)f .rEXAS` with the flcc`ompanying certified i.op}7 of PLAINTIFFS
   APPLICATloN FOR TEMPORARY RESTRAINING ORDER.

   HEREl\' FAIL \'OT. but of thi±i ^\'(}tice make due return as the law directs.

   ISSUED A`'D GIVE`t U`'DER MY HA`'D A`'D SEAL 01.` SAID COURT a{ Houston. Texas. this day March 10.
   202 I .
   _.   .: .-..   ___   __i




                                                                                                       nth higco
    Issuetl dt request {}f:                                              ,.i                          Marilyn Burgess. I}ISTRICT Cl.ERR
   POTTS. DEREK HEATH                                                                                        HARRIS C0lL\'TY. T E X A S
   3"7BUFFALospEEDWAy.sTEi9tr!:!\{                                                                              2{}1 Carolif]e. I-louslon. Texas 77{M}2
   HOUSTO.\'. TX 77098                                                                                          P.O. Box 4651. I louston. Texa.i 772 LO
   713-963-8881


    Bar t\'{}: 24073727
                                                                                                  Generated By: BRIA±`'.\'A J. DE.\.MO`.




  AFFIDAvlT ATrACHED
 Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 133 of 161




                                                Off]cer or Authorized return

  Came to hand on the |j±Lday of March A.D.. 2021 t at 8:00 o'Clock.
  A±4Landexecutedbydelivering±±±L±±£gglwLrfe±d_dy_Epergv_lL=€_H=R=eJ
  ±b±g±±g_b=__I_?_.g_i_§=±E±e_a___age,r},I_I_=NT±[!gLn_aJ._Beg_i±§=[e_9==4gs±±§Jp__£=_:_._I__a_Q§§=pt_eg=_`b_¥___L±±e+¥a
  S±e.±±s±n the ±£±;!±±g±± of ±4g!=g]±. A. Q=±==2Q2J±±_±Q£§j±±lQfk===_4de4±,_the
  within named defendant in person, a trtle copy of this Cjtndon, together with a copy of
  original petition with drte of service marked thereon, at the following location, JEg§
  Brvan Street] Suite 900 Dallas Texas 75201




Notice No. 202110004
Plaintiffs Application for T`emporary Restrainig Order



  Witness Fee:
  For mileage
  For Notary




                                                                                 PSC 4688 expires 2/28/2022

                                                         Dave Valfer, 1801 Vassar rmve Richardson, Texas
                                                                       Authorized Person


  COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE. OR CLERK OF THE COURT.
  in accordafne with Rule 107; The officer or authorized person who serves, or attei'npts to sene, a citatfro sha» §ton the return. The
  Signature is nct required to be verified, if the return is stoned by a person cther than a sheriff, constade, or the deck Of the court, the
  retL[m Shall be sisned under penafty of periury and conta!n the following statement:




  My name is _P=_aye.=Va_fffr


  My date of birth is;          July 2,1960            and my address i§; 1801 Vascar Drive Richardson Texas 75081
                                                                                  Dallas County. Texas

  I DECLARE UNDER PENALTY 0F PERJURY THAT THE FOREGOING IS TRUE AND
  CORRECT.
             Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 134 of 161


Dave Valfer

From:                              CLS~SOPDALTEAM@WOLTERSKLUWER.COM
Sent:                              Friday, March 12, 2021 10:28 AM
To:                                premierprocess@swbell.net
Sufrject:                          Intake Portal -Jc>b #56264 has been received




Hello David Valfer,


 We confirm receipt of the following documents via the Intake Portal on the date, time and location indicated below.

Date: Fri, Mar 12, 2021
Time: 10:28 AM CST
Name: David Va!fer
Juris Served: TX
Job lD: 56264




  GRIDDY ENERGY LLC                             [NCORP SERVICES, INC.                              202110004

  GRIDDY ENERGY LLC                             [NCORP SERVICES, lNC.                              202110004

  GRIDDY ENERGY LLC                             INCORP SERVICES, ]NC.                              20211cO04


You can also view the status of jobs you at
https://intake.ctcorporation.com/

Thank you
Intake 5pecia!ist: Latoya Sterns
CT Corporatictn, a Woiters K!uwer Company




                                                              1
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 135 of 161




                 Exhibit 15
             Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 136 of 161                                 3/12/2021 2:05 PM
                                                                                       Marilyn Burgess - District Clerk Harris County
AFFIDAVIT ATTACHED                                                                                          Envelope No. 51431539
                                                                                                              By: EVELYN PALMER
                                                                           Receipt   Number: 893017 Filed: 3/12/2021 2:05 PM
                                                                       Tracking Number: 7.3848682
 •SOp¥i OF pREan±"g pRQvfflrm 8¥ E|*

                                         •CAUSE NUMBER:       20211.0004



 pLAI"IIFF:`      KHouR¥,   |ISA   {INDlvlDUALLr   AND   ORE                   In, the 133rd rudiciial
 BEHALF `OF ALL OTHERS ST"ILARLY

 nys5 ®
                                                                               'DisLrict Court of

 DEFENDANT:       GRIDDY ENERGY LLC                                            Harris counLty, I`exas

                                                   CITAT±ON
 THE sTArE OF TEXAs.
 Courity o£ Harris
 TO: GRIDDY ENERGY LLC MAY BE SERVED BY SERVING ITS REGISTERED AGENI
 i999 BRYAN STREET SUITE 900
 DALLAS TX 75201


          Attached is a copy o£ PLAINTIFE'S FI.RST AMENDED CLASS ACTION PETITIO.N.
 This instrument was filed on March 2, 2021, in the above numbered and stylecl cause o.n
 the docket in the above Judicial District Court of Harris County, Texas, in `the
 courthouse in the City a.f Houston, ¥exas. The instrument attached describes the claim
 against you.
          YOU HAVE BEEN SUED.          You may empiey an attorney.             If pou or your attorney do not
 file a vLtritten answer with the Dig.trick Clerk who is`sued this ci.tation by 10:00 a.in.
 on 'the MC>nday next foliowing the expiration of twenty days after you were served this
 citation and petition, a default judgment may be taken agai.nst you, In addition -to
 filing a written answer with the clerk, you may be required to make initial
 disclosures to the other parties of this suit. these disclosures generally must be
 made no later than 30 days after y`o'u file your answer with the clerk.                            Find out more
 at, IexaslawHelp. org.
          ISSUED AND GIVEN UNDER M¥ HAND and Seal of said Cou'rt,                         at Ho'uston,      Te.xas,     this
 March 10, 2021.


                                                               mpf ty hiife
                                                               Marilyn Eufgess, District Clerk
                                                               Harris County, Texas
                                                                20.1 Caroline, Houston, Texas 770'02


                                                               Generated Fy: BRIANNA I. DENMON


 Issued at request .of i
 POETS, DEREK HEA"
 3737 BUFFA`LO SPEEDWAY, SEE 1900
 HQUSTON7 TX 77098
 713-963-8881

 Bar Number : 24073727



AFFIDAVIT ATTACHED
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 137 of 161




                                              Officer or Authorized refurn

Came to hand on the ±±fldry of March A.D.. 2021`. at 8:00 o'clock.
±n4L and executed by delivering ±±±a±S±g¥__r¥±±±±rid_dy_._Emerev_ i_L€_ .(ci±_a_tip_Q}_
±nre±±g_b_=_rag_.i._§__i_erQg.___^a.q&p=t.Nations_i_._B_egis_te_[e_d__Age_ntslnQ__.I___as_e,§p±e_a_by_Latgya_
stems on the ±2£:!±±a¥ of nd4a±=el±;A,._ B±;=2Q21 +.._ g±;:I_Q;2.§±alQde=4A4._the
withinnameddefendantinperson,atruecQpyOfthisCitation,togetherwi.thacopyof
original petition with date o.f service marked thereon, at the following location. _J±gg
Brvan Street, §_uj±e±_BQ0 Dallas Texas 75201




Citation 202110004
PLAINTIFFS' FIRST AMENDED CLASS ACTION PETITION
EXHIBITS A-E



Withess Fee:
For mileage
ForNotay


                  .,,:,   -:       .,....                                              I'.`{. i('SS
                                                                                                  expires 2/28/2022
                                                       Dave Valfer, 1801 Vassar Drive RIchai'dson, Texas
                                                                     Authorized Person

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFFt .CONSTABLE. OR'CL£RK OF THE COURT.
in accordance with Rule 107: The officer or QuthorEed person who servos, or attempts to serve, a citation shall sisn the retun. The
snonature is not required to be velfred, .rf the TBtum is signed by a person other than a Sher.rff, constable. ar the clerk Of the court, the
rotom stia]l be signed under penafty of perjury and contain the fo«owing statei.dent




Mynameisp=_a_ve+flf=?I

My date of birth is;           July 2.1960           and.my address is; 1801 Va8eer Drive Richard§on Texas?5081
                                                                                Dallas County, Texas

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREcOING IS ThuE AND
CORECT.
             Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 138 of 161


Dave Valfer

From:                              CLS-SOPDALTEAM@WOLTERSKLUWER.COM
Sent:                              Friday, March 12, 2021 10:28 AM
TO:                                premierprocess@swbel!.net
Subject:                           Intake Portal -Job #56264 has been received




Hello David Valfer,

We confirm receipt of the following documents via the Intake Portal on the date, time and location indicated below.

Date: Fri, Mar 12, 2021
Time: 10:28 AM CST
Name: David Va!fer
Juris Served: TX
job lD: S6264

  •....                                                 L
  •,0.




  GRIDDY ENERGY LLC                            [NCORP SERVICES, INC.                              202110004

  GR!DDY ENERGY LLC                            !NCORP SERVICES, lNC.                              202110004

  GRIDDY ENERGY LLC                            INCORP SERVICES, {NC.                              202110004


You can also view the status of jobs you at
https://intake.ctcorporation.com/

Thankyou
Intake Specialist: Latoya Sterns
CT Corporation, a Wolters K!uwer Company




                                                             1
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 139 of 161




                   Exhibit 16
         Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 140 of 161                                        3/15/2021 12:43 PM
                                                                                           Marilyn Burgess - District Clerk Harris County
                                                                                                                Envelope No. 51471035
                                                                                                                  By: EVELYN PALMER
                                                                                                             Filed: 3/15/2021 12:43 PM



                                           CAUSE NO. 2021-10004

    LISA KHOURY, Individually and on Behalf                   §                IN THE DISTRICT COURT OF
    of all Others Similarly Situated,                         §
                                                              §
                            Plaintiff,                        §
    v.                                                        §                    HARRIS COUNTY, TEXAS
                                                              §
    GRIDDY ENERGY LLC                                         §
    and GRIDDY HOLDINGS LLC,                                  §
                                                              §                    133rd JUDICIAL DISTRICT
                            Defendants.                       §

                 GRIDDY ENERGY LLC’S SUGGESTION OF BANKRUPTCY
                         AND NOTICE OF BANKRUPTCY STAY

          PLEASE TAKE NOTICE that on March 15, 2021, Defendant Griddy Energy LLC

(“Debtor”)1 filed a voluntary petition for relief under chapter 11 of title 11 of the United States

Code in the United States Bankruptcy Court for the Southern District of Texas, which is pending

under Case No. 21-30923. A copy of Debtor’s voluntary petition is attached to this filing as

Exhibit A.

          PLEASE TAKE FURTHER NOTICE that pursuant to section 362(a) of the Bankruptcy

Code, the filing of Debtor’s voluntary petition operates as a stay, applicable to all entities, of,

among other things, (a) the commencement or continuation of all judicial, administrative, or other

actions or proceedings against the Debtor (i) that were or could have been commenced before the

commencement of the Debtor’s case or (ii) to recover any claims against the Debtor that arose

before the commencement of the Debtor’s case; (b) the enforcement against the Debtor or against

any property of the Debtor’s bankruptcy estate of a judgment obtained before the commencement

of the Debtor’s case; or (c) any act to obtain possession of property of or from the Debtor’s


1
         By filing this Suggestion of Bankruptcy, Debtor does not waive and it specifically reserves any and all
defenses it may have, including any special exceptions or challenges to jurisdiction. The filing of this Suggestion of
Bankruptcy does not seek any affirmative action from this Court, and does not constitute an appearance in this matter.


                                                          1
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 141 of 161




bankruptcy estate, or to exercise control over property of the Debtor’s bankruptcy estate.




Date: March 15, 2021                                        Respectfully Submitted,

                                                            BAKER BOTTS L.L.P.

                                                            /s/ Jonathan Rubenstein
                                                            Jonathan Rubenstein
                                                            State Bar Number 24037403
                                                            jonathan.rubenstein@bakerbotts.com
                                                            John B. Lawrence
                                                            State Bar Number 24055825
                                                            john.lawrence@bakerbotts.com
                                                            Christopher C. Cyrus
                                                            State Bar Number 24097110
                                                            2001 Ross Ave, Suite 900
                                                            Dallas, Texas 75201
                                                            (214) 953-6500 (telephone)
                                                            (214) 953-6503 (facsimile)




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 15, 2020, a copy of this notice was served in accordance
with the Texas Rules of Civil Procedure.

                                                     /s/ Jonathan Rubenstein
                                                     Jonathan Rubenstein




                                                2
Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 142 of 161




                                  0
                                  0
                                  0
                                  0
                    1234546070
                                ÌÍÎÏÐÑÒÓÔÕÖÑÔÐÐÐ×ØÙÚÛÏÜÝÐÒÐÐÐÞßàÏáÐßÜÐâãäåÐØÜÐÕÔæÒçæÑÒÐÐÐèÍéÏÐÒÐØêÐÒÖ
                         Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 143 of 161

ZHQQ?HI?LMHD?HI>AB@FLHAI?LA?HJCILH>P?LMC?GFDC?
66264649368961896
    6                                         6
    v¤¥
     vvv¦v§v¨v©vª
   4          v«vvvvvvvvvv
                            v666292368166v¬©
                                                vvv­v®v¯vvvvvvvvvvv6
                                               466
      6 96¡z¢~|£~6vvvvvvvvvvvvvvvvvvvvvvvvv66496v°v°   vvv6                                                                                                                      636216262646
                                                                                                                                                                                                 4 612526

011232456789 6 6
 !"#$%&'()*$+$+#(,&(- #./#0+1+0"%!2(3+!+#4(,&(5%#6&"7$8'( 9:;<9(
=>?@ABC?DEFGC?HD?ICCJCJK?FLLFGM?F?DCEFBFLC?DMCCL?LA?LMHD?>AB@N?OI?LMC?LAE?A>?FIP?FJJHLHAIFQ?EFRCDK?SBHLC?LMC?JCTLABUD?IF@C?FIJ?LMC?GFDC?
IV@TCB?WH>?XIASIYN??ZAB?@ABC?HI>AB@FLHAIK?F?DCEFBFLC?JAGV@CILK?[\]^_`a^bc\]dec_dfg\h_`i^ajdkc_l]dec_dmc\n[\obpbo`gq]r?HD?FsFHQFTQCN?

 tN?uCTLABUD?IF@C?                                              v±ª
                                                                 vvv²
                                                                    ³vv³v´µ«
                                                                         vvvvvv©vª
                                                                                 v¶
                                                                                  v´·
                                                                                   vvvv·
                                                                                       v¸
                                                                                        vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv6
 6
    ?                                                           6

 <N?wQQ?ALMCB?IF@CD?JCTLAB?VDCJ? v±ª  vvv©
                                         v©vv«v¹²vvª v³µ«
                                                       vvvvvv©vª     v¶v´·
                                                                         vvvv·v¸   vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv6
    HI?LMC?QFDL?x?PCFBD?             vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv6
    356464 64 y6 vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv66
    9464 y64z{|}~z}~z vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv?
    z4 6
    ?                                6
  N?uCTLABUD?>CJCBFQ?@EQAPCB? vvº
    =JCILH>HGFLHAI?V@TCB?? v66v°vv66666vv°v66vv»v66v¼vv66v°vv66v½vv66¼vvv6º
                                                                                 vvv6
 ?
 :N?uCTLABUD?FJJBCDD?                                           BHIGHEFQ?EQFGC?A>?TVDHICDD?                                                            FHQHIR?FJJBCDDK?H>?JH>>CBCIL?>BA@?EBHIGHEFQ?EQFGC?
                                                                                                                                                   6
                                                                                                                                                        A>?TVDHICDD6
                                                                v¤©
                                                                 vvv©
                                                                    vvvvvvvv¾§
                                                                            vvv§
                                                                               v®v¿
                                                                                  v¨
                                                                                   vvÀ©
                                                                                     vvv«
                                                                                        vv§
                                                                                          v¾
                                                                                           vvvvvvvvvvvvvvvvvvvv6                                        vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv6
                                                                 96 96                                                                          96 96
                                                                vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv6                                         vÁÂ¹¥
                                                                                                                                                         vvvvvvvv­°
                                                                                                                                                                  vvvÃ
                                                                                                                                                                     vÄ
                                                                                                                                                                      vvÄ
                                                                                                                                                                        vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv6
                                                                                                                                                        0686
                                                                vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv6
                                                                26                       46 6866                                           v±ª
                                                                                                                                                         vvv©v©
                                                                                                                                                              vv«
                                                                                                                                                                v¯Å®
                                                                                                                                                                 vvvvvª
                                                                                                                                                                      vÀ¯
                                                                                                                                                                       vvvvvvvvvvvvv¸¬
                                                                                                                                                                                    vvvvvvvvvÆ
                                                                                                                                                                                             vº
                                                                                                                                                                                              vvÄv½
                                                                                                                                                                                                  vÄ
                                                                                                                                                                                                   vvvvvv6
                                                                                                                                                        26                      46 686
                                                                                                                                                        AGFLHAI?A>?EBHIGHEFQ?FDDCLDK?H>?JH>>CBCIL?>BA@?
                                                                                                                                                        EBHIGHEFQ?EQFGC?A>?TVDHICDD6
                                                                                                                                                        v¤©
                                                                                                                                                         vvv©vvvvvvvv¾§
                                                                                                                                                                     vvv§
                                                                                                                                                                        v®v¿
                                                                                                                                                                           v¨
                                                                                                                                                                            vvÀ©
                                                                                                                                                                              vvv«
                                                                                                                                                                                 vv§
                                                                                                                                                                                   v¾
                                                                vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv6
                                                                866                                                                                                            vvvvvvvvvvvvvvvvvvvvv6
                                                                                                                                                         96 96
                                                                                                                                                        vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv6
                                                                                                                                                        vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv6
                                                                                                                                                        26                       46 686
 ?
 N?uCTLABUD?SCTDHLC6??                                    v¨
                                                                 v§
                                                                  v§
                                                                   vÇ
                                                                    v¯
                                                                     vvÈ
                                                                       ÉvÉvÊÊÊË
                                                                           vvvvvv¶
                                                                                 vª
                                                                                  v²
                                                                                   v³
                                                                                    v³
                                                                                     vv´
                                                                                       vË
                                                                                        v¿
                                                                                         v¥
                                                                                          vvÀvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv?




011232456789 6 6                                                      85496228618968224567252618964936                                                                          466
                         ¡¢£¤¢¥¦§¨©ª«¬­®¯­ª°±²³¦ª£¢´µ´ ¶·¦¸¤
                  Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 144 of 161

01
6 23456
               
                7717
              79   777
                    6
                         77777
                              77
                                7
                                 7
                                  7777
                                      7
                                       77777777777777777777777777777777776                       8916 2156777777777777777777777777777777777777766

 -./0123/45/637849/6                         :6
                                             845+45934 6&(6;31&6;923"684 +9 "6;;869 &6;31&6;923"6#95315<+6;;#6
                                             :6#95315<+61=&(66;;#6
                                             :63<15>6?+1"@67777777777777777777777777777777777777777777777777777777777777777776
 A./B3CD9E73/637849FC/7GCEH3CC6 I>JKLMLN6
                                             :6O193<689516) 1 696&11&66 6P>?>8>6Q6 RI6
                                             :6?(16I 136S196T 3931696&11&66 6P>?>8>6Q6 U )6
                                             :6S9549&696&11&66 6P>?>8>6Q6 VV6
                                             :6?34*254*15696&11&66 6P>?>8>6Q6 UWI6
                                             :684 4&3"6)54*15696&11&66 6P>?>8>6Q6 X6
                                             :68195(6)9 *696&11&66 6P>?>8>6Q6RY W6
                                             :6
                                             4 16463<16924'1
                                    )>JKLMZ[[\KZ\Z]][^N
                                    :6_9=$1=1 +361 33"696&1521&66X6P>?>8>6Q6U 
                                    :6%Q6'Y193$W16364 +9 "6̀&(6<1&(16 &6456+441&6'13 1 36'1<1696&11&66U6P>?>8>6
                                    :6%'13 1 369&'45696&11&66U6P>?>8>6Q6Y2$9 6
                                        6
                                    8>66I%8?6453<6I 159 6%& 35"689 934 6?"31 6V$&(364&163<9362136&15216&12345>6?116
                                        <33+@aabbb> 4 53>(4'a4 5$&(3$934 9$9 4934 $9$4&16>6
                                    6 77766777667 77667776
 c./dH639/efEDf/Dfg2839/45/8f3/ JKLMLN
    hgHi9G28D1/j463/EC/8f3/ :68<9+3156R66
    637849/5EkEHlm/
    6                               :68<9+3156p6
    I6&123456b<46696n 962 1 6 :6
                                    8<9+3156 >6JKLMqrr\KZ\Z]][^@6
    &12345o6 36<1*63<16536 2$                      :s_<   16&123456696 962 1 6&12345696&11&66 6P>?>8>6Q6 U 06̀9 &63t
    24=>6I6&12345696&11&66                              9((51(93164 4 3(1 36u &931&6&12361=&(6&12364b1&6346 &156456
    Q6 Y6b<461136346+5411&6                          9931695161 63<9 6vR̀UX̀U>6%63<6 2$24=661131&6̀9339<63<16 436
      &156 2<9+3156!646<9+3156 6                        511 36299 16<113̀63931 1 36464+15934 6̀9<$4b63931 1 3̀69 &61&1596
    b<13<1564564363<16&123456696                         4 1639=65135645669 "6463<116&4 1 36&464361=3̀644b63<16+541& 5166
    n 962 1 6&12345o6 36                                  6P>?>8>6Q6 X)>6
    <1*63<1614 &6 2$24=>6                           :s_<416&412334(56163966&u12&39435169&6&6&112361&16=6&6P>(?>8>6Q6 Y6̀369((51(9316
                                                                                                                             6&12364b1&6346 &156456993169516
                                                           1 63<9 6vRÙ`6̀gH6/E8/Df44C3C/84/294D336/GH639/wG7Dfg2839/x/45/
                                                           jfg2839/yy.6%63<6 2$24=661131&6̀9339<63<16 436511 36299 16<113̀6
                                                            3931 1 36464+15934 6̀9<$4b63931 1 3̀69 &61&15964 1639=65135 6̀4566
                                                           9 "6463<116&4 1 36&464361=3̀644b63<16+541& 5166 6P>?>8>6
                                                           Q/ X)>6
                                                       :6
                                                        I6+9 6621(61&6b3<63<6+1334 >6
                                                       :6I51&13+43596̀16964643<5&196+9166b
                                                                                                    b1516431&6+51+1334 654 64 16456 45169 1646
                                                                                                       3<6 6P>?>8>6Q6 X2>6
                                                       :6_<   16&123456651u 51&634616+154&651+45364561=9 +16̀z69 &6{6b3<63<16
                                                           ?153169 &6T=<9 (1684  4 6945&(6346Q6W6456U&6463<16?15316
                                                           T=<9 (16I3646pWV>6163<16|\\ZMK}L\\~[\Z^L\\ Z[[
                                                           Z]\M^ LJKZ]\L69645 6 I6b3<63<645 >6
                                                       :6_<21$6&>1623456696<164 +9 "696&11&663<16?15316T=<9 (16I3646pWV6S 16
                                    :68<9+3156/

6669645 6 6                            !4 395"6#1334 64564 $%&'& 96(6456)9 *5+3"6                                      +9(16,6
                         ¡¢£¤¥¦¤¡§¨©ª¡«¬«­®¯
                 Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 145 of 161

01
6 23456      7977
                  7
                   777
                  16
                        77777
                             77
                               7
                                7
                                 7777
                                     7
                                      77777777777777777777777777777777776                                    8916 2156777777777777777777777777777777777777766

 -./0121/32452/67892:3;<=/<7>1>/ J6
                                 46/
     ?4@1A/6=/52/7B748>;/;C1/A16;52/ J6K1I//0353667777777777777777777777766LG1 66777777777777777668916 215677777777777777777777777776
     D4;C48/;C1/@7>;/E/=172>F/         6 6 6                                  6 MM6N66006N6KKKK6
     %6 45163G9 6691H69339G696     6 0353667777777777777777777777766LG1 66777777777777777668916 215677777777777777777777777776
       1+9593163I6                   6 6 6                                  6 MM6N66006N6KKKK6
 OP./Q21/78=/67892:3;<=/<7>1>/ J6    
     318A48B/52/6148B/?4@1A/6=/7/ J66K146I660123456677777777777777777777777777777777777777777777766S1934 G+6677777777777777777777777776
     6:>481>>/372;812/52/78/
     7??4@47;1/5?/;C1/A16;52F/         6 0353667777777777777777777777777777777777777777777776LG1 66 77777777777777777766
     R369691I6%6 45163G9 6H6      6 6 6                                                                     MM6N66006N6KKKK66
     9339G6961+9593163I6            6 8916 215H66* 4T 6777777777777777777777777777777776

 OO./0C=/4>/;C1/<7>1/?4@1A/48/UVWXY ]^_`abbc^acaddbef6
     ZWXU[W\UF//                         J6
                                         0123456G96G9&636&4 1H6+5+96+916462 1 H6456+5+969 13663G6&3536456g6&9"6
                                           1&931"6+511&(63G16&9316463G6+1334 6456456964 (156+953646 G6g6&9"63G9 669 "643G156
                                           &353I6
                                         J6h629 *5+3"69164 15(6&12345i69931H6(1 1596+95315H6456+95315G+66+1 &(663G6&353I6
 Oj./k51>/;C1/A16;52/5D8/52/C7l1/ J6
                                   46
     35>>1>>458/5?/78=/217@/
     325312;=/52/312>587@/325312;=/J6K1I6h T156214T645619G6+54+153"63G93611&6 1&93169331 34 I6h339G69&&34 96G1136611&1&I6
     ;C7;/811A>/4mm1A47;1/           6 0C=/A51>/;C1/325312;=/811A/4mm1A47;1/7;;18;458F//]^_`abbc^acadd"I6
     7;;18;458F/
                                                 J6%36+416456691(1&6346+416963G5193646 1 369 &6&1 39216G9n95&6346+ 26G193G6456913"I6
                                                 6 LG93663G16G9n95&o67777777777777777777777777777777777777777777777777777777777777777777776
                                                 J6%3611&6346216+G"9"6151&6456+543131&654 63G16T193G15I6
                                                 J6%93363134&1664+51651qG992+116H(64'41&36445*69H61193463G99366(444&&6Hp61*93"H66&&91351"5H64+55943&164516H4645166'195163T
                                                                                                                                                                                                    3G4 36
                                                                                                                                                                                                   1$51931&6
                                                    9 13645643G1564+34 I66
                                                 J63G15677777777777777777777777777777777777777777777777777777777777777777777777777777776
                                            6 0C121/4>/;C1/325312;=F7777777777777777777777777777777777777777777777777777777777777777777776
                                                                     6                 2156        r351136
                                            /                                         /                                 /
                                            /                                         777777777777777777777777777777777777777777777777777777777777777777776
                                                                                      777777777777777777777777777777777777777/ 7777777677777777777777776
                                                                                      83"6 6                                   r39316s%#684&166
                                            6 t>/;C1/325312;=/48>:21AF/
                                              J646
                                              J6K1I6% 59 169(1 "6777777777777777777777777777777777777777777777777777777777777777777776
                                            /                 84 39369 16 77777777777777777777777777777777777777777777777777777777777777777777/
                                            6                 #G4 16       7777777777777777777777777777777766

 6          uvwvxyvxzw{|w}~|w~x}xyvwvx|x}wvx}6



6669645 6 6                       !4 395"6#1334 64564 $%&'& 96(6456)9 *5+3"6                                                                          +9(16,6
                        ¶·¸¹º»¼½¾¿À»¾ºººÁÂÃÄÅ¹ÆÇº¼ºººÈÉÊ¹ËºÉÆºÌÍÎÏºÂÆº¿¾Ð¼ÑÐ»¼ºººÒ·Ó¹ºÔºÂÕº¼À
                 Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 146 of 161

0123456      79
                7717
                    777
                         7777777
                                 77¡
                                   7777¡
                                       7¢
                                        77777777777777777777777777777777776               8916 2156777777777777777777777777777777777777766

 -./01234567802849:;495<05=0              BCDEDF
     ;>;9?;3?20=@<A80                     G  &6H62169'99216456&352 34 6346 151&651&345I6
                                          G J31569 "69& 3593'161K+1 169516+9&L646 &6H62169'99216456&352 34 6346 151&651&345I66
 -,/0M849:;42A0<@:32605=0
                                      G $OP6                     G L$QL6                                 G QL $QL6
     N62A945680                       G Q $PP6                  G QL $L6                                G QL $L6
                                      G $PP6                   G L $QL6                               G R45163S9 6L
                                      G $PPP6
 -T/0M849:;42A0;882480
                                      G U$UQL6              G U LL $U 6 46                     G UQLL $U 624
                                      G UQL $U L6 G U LL $UQ6 4 66                          G U LLL $U 624
                                      G U L $UQL6 G UQLL $U 6 4 6                         G U LLL $UQ624
                                      G UQL $U 6 4 6 G U LL $UQ6 4 6
                            
                                                                                                               G R45163S9 6UQ624
 -V/0M849:;42A0?9;39?949280
                                      G U$UQL6              G U LL $U 6 4 6                     G UQLL $U 624 6
                                      G UQL $U L6 G U LL $UQ6 4 6                           G U LLL $U 624
                                      G U L $UQL6 G UQLL $U 6 4 6                         G U LLL $UQ624
                                      G UQL $U 6 4 6 G U LL $UQ6 4 6                      G R45163S9 6UQ624
            WXYZX[\]^_`]WXabX^c]dXeaf`f\b_gc]fgh]ibjgf\Z`X[
 klmnonp6$$66)9 *5+3"659 &6696154 651I66R9*(6969163931 1 3664 134 6H3S69629 *5+3"69 169 651 36616+6346
             UQL6456 +54 1 36456+63466"195L6456243SI66q6rIsI8I6tt6QL6uO L6Q PL69 &6uQv I6
 -w/012N?;6;495<0;<A089x<;4@6205=0            |S16&12345651} 13651166945&9 16H3S63S16S9+3156463316 L6r 31&6s3931684&1L6+11&663S6
     ;@4y569z2A062{6282<4;49>205=0            +1334 I6
     A2345600
                                              %6S9'16211 69 3S45~1&6346163S6+1334 64 621S96463S16&12345I6
                                              %6S9'161K9 1&63S1645 934 663S6+1334 69 &6S9'16965194 921621163S9363S1645 934 6635169 &6
                                              45513I66
                                          %6&19516 &156+1 93"646+155"63S9363S16451(4(6635169 &645513I6
                                             K131&64 667£
                                                          7¤
                                                           77¥
                                                             7¦7§
                                                                7¥̈£
                                                                 7777¨77¦77776

                                          ¥©¥ª««¬­®¯°°±RR666006666
                                            7777777777777777777777777777777777777777777776
                                          6 s( 93516469 3S45~1&651+511 393'1646&123456
                                                                                                    7ª«
                                                                                                     777«
                                                                                                        77¬­®
                                                                                                          77777¯
                                                                                                    #531&69 1
                                                                                                               7°
                                                                                                                7°
                                                                                                                 7±7
                                                                                                                    777777777777777777777777777777776

                                          6 |317¢®
                                                  777
                                                     7
                                                      7²
                                                       77³
                                                         77
                                                           7±
                                                            77
                                                              7´
                                                               77
                                                                 ±77°7µ²
                                                                      777²
                                                                         7´7777777777777777776




6669645 6 6                        !4 395"6#1334 64564 $%&'& 96(6456)9 *5+3"6                             +9(16,
                        qrstuvwxyz{vyuuu|}~tuwuuutuuu}uzywvwuuurtuu}uw{
                 Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 147 of 161

01
6 23456
              FG
               7717H
             79   I77I7JKL
                   6
                        77777M
                             77G
                               7N
                                7JO
                                 7777O
                                     7P
                                      77777777777777777777777777777777776                      8916 2156777777777777777777777777777777777777766

 -./01234567890:;0566:849<0              =QRQSTUHIVWKTRXYTZM
                                           777777777777777777777777777777777777777777777
                                         6 ?( 9351646933451"6456&123456
                                                                                                   > 093166 7@@6
                                                                                                             [7\77Q7]7^7Q7_77[7_7]77777>
                                                                                                                       A60066A6BBBB6

                                            7ST
                                             777U77H
                                                   IVW
                                                   777777KT777R
                                                              7X
                                                               7Y
                                                                T77Z7M777777777777777777777777777777777777777777777777777777777777777777777777777776
                                            #531&69 16
                                            7`T
                                             777Z7M
                                                  77G`a
                                                    77777XX7RO
                                                            777W
                                                               7O 77WbW
                                                                      7777777777777777777777777777777777777777777777777777777777777777777777777777776
                                            5 69 16
                                            7c
                                             7]77[
                                                 777777777O7a7d
                                                              77HR77HT77L7TeX
                                                                          77777W
                                                                               77777777777777777777777777777777777777777777777777777777777777777777776
                                             2156 ?351136
                                            7fa
                                             777d77R
                                                   7X
                                                    7a7L
                                                       77777777777777777777777777777777777777777776 7gM     777h7T77R7777767i 7i77[7[77_
                                                                                                                                       777777777777777777777776
                                            83"6                                                         ?39316            C%#684&166
                                            7i
                                             7]77\
                                                 7j
                                                  7_
                                                   77_7c
                                                       7j
                                                        7]
                                                         77\7c
                                                             77i
                                                               7777777777777777777766                     67I
                                                                                                            7T77U7H7I
                                                                                                                    7W7M
                                                                                                                       7T
                                                                                                                        77R
                                                                                                                          7X
                                                                                                                           7YT77Z7M77kl
                                                                                                                                      7777T7Z
                                                                                                                                            7M
                                                                                                                                             77G
                                                                                                                                               7l
                                                                                                                                                7a
                                                                                                                                                 77X
                                                                                                                                                   X7R7W7m7a77n7777776
                                            84 3936+D4 166                                               E 969&&51 6

                                            7_
                                             7o
                                              77[
                                                7i
                                                 77o
                                                   7]
                                                    77p7^
                                                        777777777777777777777777777777777777777777767gM
                                                                                                     777h7T
                                                                                                          77R777776
                                            )956 2156                                               ?39316
>




6669645 6 6                       !4 395"6#1334 64564 $%&'& 96(6456)9 *5+3"6                                           +9(16,6
        cdefghijklmhkgggnopqrfstgiggguvwfxgvsgyz{|gosglk}i~}higggdfggogim
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 148 of 161




                     011023456170718798 610 751186
     777!7"#70!!!77
        7
        $%&'&()*+,+*-./&/+&)0.1&1&2)+.23&+-.2&)*%*4&305/(63.5&33&3.57*63)*505/-0+.*63
*)%&+1*20).*53.5$&803(9,6+2%03.5:,*;&+0))%&40+<&)+0)&05/0++05:.5:/&1.-&+9*5
)+0534.33.*505//.3)+.(6).*51.5&3)%&+&(92*55&2).5:,6+2%03&+3/.+&2)19)*)%&;%*1&301&,+.2&
*=&1&2)+.2.)9>
        ?@ABCADEFGHIBJGKLMGNBFOOKPABKIBQFPMEARBKSBTAIEJFGEUBV?WB?@ABCADEFGBMQIFB@MIBMSBFOOKPAB
1*20)&/0)XXYXXZ*+)%[+&&;09\]^^_7*63)*5_$&803``^a^>b)3,+.52.,01(05<022*65)30+&
1*20)&/.5$&803>

        
        
        
        STUVWXYZ[\]X[WWW^_`abVcdWYWWWefgVhWfcWijklW_cW\[mYnmXYWWWoTpVWqW_rWY]
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 149 of 161




                                     0123345678594536
                                     8 63 46 4 4196
                                               86
                                    1264541676
6
                                           666
6
        36!6"!6#6$$"6%#6& $"'(6)*6+64!+6766,-6
,$#6,",#+6)$.+6%#6&7)$.+'(6"+6/)#6*)6).#6..)/66)#6#)6#6
*),,)-!6),#)6"+6-##6)#6-#)#66$#!6.#6#)606123%(6)*6#6
,-6$#6",#+67)$.+64#669#)656)*6#6 #64$661##6
$#6",#+67)$.+64!$#6)*6#67)$.+6%#6&74'66#$66"#6)#6*6
6,,6/6#6$!6!6#)6#$66#674(76
8
        9:;<;=>8#6 $"6/6)6$)!6)#6#!6#6*,66
).#),6)#)6)*6#67)$.+66#67)$.+?6"6)6#6#6)*6#6#6
)*6#67)$.+6#6#66,)!2#$6,",#6)*6#67)$.+6#6).#)6/,",6#)6#6
7)$.+6#6/6)*6$!$#66#6)$$#)6)*6#67)$.+?6,!,6/)6
6#)6#6,#/6@66"*#6)*6.!66"@.#+6.)!66#6.)/)6)*6
##,66)*6#6A#69##67)6%#6& @.#+67)'(666
8
        9:;<;=>8#6 $"6/6#$ 6##6#666#6"#6##6)*6#67)$.+6
6#67)$.+?6#@),6#)66)#6##6.#6#)6)$$6666
.#66)*6#6@.#+67)B6
        6
CD9E8F:;<;GD<;E8H;8IFJ8
8
        <;>DKL;M8##66#6N!$#6)*6#6 $"6#66",666#6"#6##6
)*6#67)$.+6#6#)6)*6#67)$.+66)#6##6.#6##66/),#+6.##)6
%#6&O##)'(6"6*,6"+6#67)$.+66#6.)/)6)*6.#66)*6#6@.#+6
7)666#66*#6
6
        <;>DKL;M8##66)*6#6)**6)*6#67)$.+6,!6+6*6P#/6
)**6*6*,6)**6/6.#6#6#+6)6##6#+6%6)*6
#6*)!)!6/,,+666&4#)Q68**'66),,#/,+6#6&4#)Q68**'(6
"666"+66#)Q66$.)-766%(6#)6P#66/*+6#6O##)66,,6
)$#6,,+6##)66#)66#6O##)6#)6"6*,6-#6#6A#69##6@.#+6
7)#6*)6#69)#6##6)*63P6%#6& @.#+67)#'(66O##)6#)6"6*,6#66
#$6664#)Q68**6,,6#$ 66#)6"66#6*)$6..)/6"+6#64#)Q6
8**6-#6#6P#)6#)*6"+6+664#)Q68**6"!6),/6/6)*6
#6..)/,6#)*6"+6#64#)Q68**66%(6#)6$@6)66#)6"6$6.)6#)6#6
P#)6#)*6+6$)*#)6#)6#6O##)6)66,,+6)$#6##66#6
N!$#6)*6#64#)Q68**6$+6"6+6..).#6)6",666% (6#)6
P#6/*+66*,6)66#)6"6*,6,,6)#6.##)6,6,#6$)#)6
..,#)6,#)6**/#6.,!66)#6..6)6)$#6##66#6
N!$#6)*6#64#)Q68**6$+6"6+6..).#6)6",66R6#)6
       89:;<=>?@AB=@<<<CDEFG;HI<><<<JKL;M<KH<NOPQ<DH<A@R>SR=><<<T9U;<V<DW<>B
    Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 150 of 161




0112340567897 8825727 7586727870672 70575712551825789 89782734267
057805708051727071257011258058727289 74225070578278070574 237
05670570789 70187057 7890878967 3751067424 7270757125518257897
275789 051727897 8825727897054816710789707 78278971174218257
2719710705787789 7
        7
         !89087897"234056770892 #7057019727897$892 #7%1 77057
9 6770892 #7057342 782734267278057897073727&0 7&2887'('((7897
2175702721082575157)*+7'20507,8 87-28257./070570+71217
  0#072 73272 732707875 0705481671257827 4 587057087897
"23405675710 65728787875 7887**727897&0548167"2741878277&0548167
"28704420705782780705670570701825782700517897"23405657987515789287
38082578974 4008257271 8057213 587827773805267897897 8825727
 57897054816710705787789 7
        7
         789087019727897$892 #7%1 770579 6770892 #7057
 342 7827805725790727897"2340567197289 7422507078967 3751067
04424 087270742571978370571258257078967907044278275 7 17
827897"2340567571255182578978705481671070578974187827289 70873088 757
12551825789 8974187827&0548167"28704420776 705787789 7
!
         789087897"23405670782757422575787054816710779 67
0892 #78272805789772710971208 0725719783707306770 782767057$892 #7
%1 75157897058727 4013 5875727289 70608742818257077 025067
5106727897"23405678271808789744272789705481671074187827
&0548167"28704420776 705787789 7
        !
         7890878972378370574225727897190487**740574 267
     7678977 3 75157892873 8082570567/987044517057197
89 8270780501825712583408789 6705707018257805767897$892 #7%1 757
12551825789 89770579 670 70892 #70442705708757074187897197
321082571905708257057825789 82707306770442727 3 751067
072704424 08767057$892 #7%1 7/185789703 7897/1825789 2767
197$892 #7%1 78277125175172719704420751867086727
04424 085705787789 !
        !
         !89087897$892 #7%1 7705701979 6770892 #7 187
057342 723783 782783 78278072710782778057197018257057827/187057
 7271078277/187057 7197213 5870730677 6 72707897
$892 #7%1 73067835782775106704424 087270782710 6728789758587
0574427278972 2572825727827280578977298789 67515789287
3808257897/18257057 672705674882571978710082570087057
289 7404 727213 5878970719701825782778057571973055 705707197488257
19787100825700874057057289 7404 727213 5878277/187
057 75719723707897$892 #7%1 790704427897805727/1825789 27
       >?@ABCDEFGHCFBBBIJKLMANOBDBBBPQRASBQNBTUVWBJNBGFXDYXCDBBBZ?[ABHBJ\BDH
    Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 151 of 161




012341256789 2 20 4294624292782393278 9201278256789 2
 2342722678 2
       2
       783723292782372342734379423742792!3772947!372012782
9 942 967942"88237234273437942"9628320 4236789 2342392012
7829 942967942#727837268237234273437942" 273$42 9279278239794292
6829679420234278128 0123 242327294! 239234237234272
 2678 2
       2
       278372782" 774294472!31202#67242!6729647 372342!312
02#6720123!24376 292978 27942! 342%4642&23426823!2
9279424376 2"28327823! 272329 4324376 '2
(
                       )*+,-./0+1(23(4-5+(6/7+/7.2/-889(:+37(;8-/<=(
2
       fghijklmnopknjjjqrstuivwjljjjxyzi{jyvj|}~jrvjonlkljjjgijlojrjlp
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 152 of 161




       !"## $"%"&'()*+,-.+/012-+.(3+1-2)*+4+53+/0678/1..9:-+/29
;;<(*+/+39+=+>,)+)*10?/1))+->6-0+-)+77+>)1@+A067)*+.A)+71/0)?/1))+-A36@+B
                                               8CDEEFGH;EDI8J;;<(
                                               )*+4A-A21-24+53+/
                                               K9LMMMMMMMMMMMMMMMMMMMMMMMMMMMMM
                                               IA5+LC66NK*,OOA/
                                               P1)O+L<QH

                                               #RSTSUVRWXYTZ[WZR\TRV]R^\T^X_^`XRXYT
                                               V_S_^`RVXYTaTX_X_R^b
                                               <P<HCcHCdPDHIJPdQQDI8(DI<B(
                                               )*+I6-e:>6-651>4+53+/
                                               K9LMMMMMMMMMMMMMMMMMMMMMMMMMMMMM
                                               IA5+L
                                               P1)O+L




               123456789 64 793775 5577  9 93594
       ghijklmnopqlokkkrstuvjwxkmkkkyz{j|kzwk}~kswkpomlmkkkhjkmmkskmq
    Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 153 of 161

                                                                                      0
      !"#$$!%#&#'()*+,-./,0123.,/)4,2.3*+,5,64,0178902//:;.,03:
<<=)+,0,4:,>,?-*,*+21@02**,.?7.1,.*,88,?*2A,B178*+,/B*,8201*@02**,.B47A,C


                                                    9DEFFGHI<FEJ9K<<=)
                                                    *+,5B.B32.35,64,0
                                                    
                                                    
                                                    L:MNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
                                                    JB6,M
                                                    O2*P,M
                                                    
                                                    
                                                    
                                                    $QRSRTUQVWXSYZVYQ[SQU\Q][S]W^]_WQWXS
                                                    U^R^]_QUWXS`SW^W^Q]a
                                                    
                                                    =O=IDbIDcOEIJKOcddEJ9)EJ=C)
                                                    *+,J7.e;?7.762?5,64,0
                                                    
                                                    
                                                    L:MNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
                                                    JB6,MK*,A,.bCf266,0
                                                    O2*P,MK,?0,*B0:
                                                    
0




          123456789 64 75653 893775 5577  9 93594
          ¡
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 154 of 161




                               01234567383476981 0 3 60 36
                                   7034 165273 2 36634876
                                             073165227216
                                                             
                                                                
                                                           
                                                                
  !"##$%&%"!$''(                                            )&*+,-......./....
                                                                
      #0*+                                               
                                                                6
                                                             6
                                   8346114 72673834241366
                        0 70813636453636981 3636455678974968:;6655634
                                                             
        <=)=*"=>)??@//A@??@+*BCA>"=>)*BDE=FG<*FA=(
!HAAG%IG''(A0*AA0*H*))))H*H0*J-FH*AF F)
KLMNOP#0*QR(0G)))B*>>*S)
        
          +T!UVWWXOYZ[WV\]^O__`OKP!HAAGa*>AHI)QROWVUNbL[XOZc\^OdeefOZgOLMNONhiVLXOV\LNUN^L^O
H#0*+j**H*kBBHI(F+H)*-F**lHFll0*B#0*+
        
        ,+TmUVWWXOnoOYZ[WV\]^O__`OKP!HAAGpa*>AHI)QROWVUNbL[XOZc\^OdeefOZgOLMNONhiVLXO
H))H!HAAGa*>AHI)+j*=)AHIq=HGH))H!HAAGpa*>AHI)AHJHAA
H*BHJ)H)
                       
                  +TkH)r+!HAAGplAHa*>AHI)''KP!HAAGlAHQR
                       AHF>G*S)??s*BkH)r=H)+
                       
                  0+TkH)D+jkH)D=H)*>GJ*HIH))+!HAJ)l)(
                       o\btOKP!HAJ)l)QROAHF>G*S)uvs*BkH)D=H)+%F*B
                       gZ[[ZcV\]ON\LVLVN^OKNwbMxOwOPkFHBHAa*>AF*QROZc\y+y@s*BkH)D
                       =H)/HDF)HA&SzH>HG/pa*>AHI)''(/HH%>>H*&SzH>HG/p
                       a*>AHI)''(A/HHH{)*&SzH>HG/pa*>AHI)''+%#CjAHI
                       &*rlHF__`OKP%#CjAHIQRO*S)lHHIvs*BkH)D
                       =H)+
                       
                  F+TkH)+!HAJ)l)AHF>G*S),|s*BkH)=H)+%F
                       kFHBHAa*>AF*AHF>G*S),?s*BkH)=H)+%#CjAHI*S)
                       lHHI,s*BkH)=H)+
        
                  A+TkH)#AkH)%+&*F*lG*>A)?s*l**BkH)#*
                       kH)%=H)+
        
                                     
  j>)B*=AHIH)*BLMNO}N~LZU^BA>HAHBHFH*=l0uy+jlH>HIAA))B*
    #0*H)<D*,||(!)Cl)(j?y|u|+
       EFGHIJKLMNOJMIIIPQRSTHUVIKIIIWXYHZIXUI[\]^IQUINM_K`_JKIIIaFbHIKMIQcIKO
     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 155 of 161




        2345678891 1 67118711 671187!"#$%!"#$&%'
())*1+1,-1.,,/8710.7,917,6,1715678891,61 87/,3111
        1
        234567813,1 ,18764,915126*1+1,-10.7,917,6,171 671187311
7/4-1+1,-1+571,7,718764,9151(8389*1+1,-10.7,917,6,171 671187:1
;7<1= /4-781> 51?,77,91871@1;77<177,1> 51?,77,91871@1/81;777<1A/1
> 51?,77,918713117BC1D6/87151,-161/771(6*1+1,-10.7,917,6,171
   6711873111
        1




                                             01
          ¡¢£¤¥¦¤¡§¨©ª¡«¬«­®¯°
      Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 156 of 161




                 
                     
                         !"
                                 "
 "                                #" "
 $%"&'("                          #" )*+,-'&".."
 "                                #" "
 /0$112"3430/2"55)6"
                   .              #" )+7'"489":.;<<<<<<<"=<<<<#"
 "                                #" "
 " " " " 1'>-8&9"                 #" "
 "                                #" 
6
                                 ??@
                           AB?@?C
6
        D'-"E8&-*">'F8G"H7"-*'"FH7-"8E"I&'JH-8&7"-*+-"*8FJ6">+7'J"K,8%"H%E8&L+-H8%",&'7'%-FM"+N+HF+>F'"
OPQRSTUVTWXRYZTRYZV[Y\RUO[]T^YR_P^T`_[TQR̀UOVa^RbYZTRcd8,"ef"5H7-ghRO]OVP^YRi[VQQ\RjPT[]\RkklRbYZTR
c1'>-8&ghmRnZV^RUV^YRZO^RSTTPRo[ToO[TQRSO^TQ"K,8%"-*'">88p7"+%J"&'I8&J7"8E"-*'"1'>-8&9"d*'"d8,"
ef"5H7-"G+7",&',+&'J"H%"+II8&J+%I'"GH-*"0KF'".ffq=J#"8E"-*'"r'J'&+F"0KF'7"8E"s+%p&K,-IM"
t[u`TQ_[TRWu[RWVUVP]RVPRYZTRvTSYu[w^R̀ZOoYT[RxxR̀O^TmRnZTRnuoRyzRkV^YRQuT^RPuYRVP`U_QT{RbxhRoT[^uP^R
G*8"I8L'"GH-*H%"-ZTRQTWVPVYVuPRuWROPRcVP^VQT[gRO^R^TYRWu[YZRVPRxxR|m}mlmR~RxzxbyxhRu[RbhR^T`_[TQR
I&'JH-8&76"H%IFKJH%"-*87'"I&'JH-8&7"GH-*"+"&H*-"-8"7'-8EE"K%J'&"+,,FHI+>F'"F+G6"K%F'77"-*'"N+FK'"8E"
-*'"I8FF+-'&+F"=8&"+L8K%-"'%-H-F'J"-8">'"8EE7'-#"H7"7KI*"-*+-"-*'"K%7'IK&'J"J'EHIH'%IM",F+I'7"-*'"
I&'JH-8&"+L8%"-*'"*8FJ'&7"8E"-*'"-*H&-M"=ef#"F+&'7-"K%7'IK&'J"IF+HL79"d*'"H%E8&L+-H8%",&'7'%-'J"
H%"-*'"d8,"ef"5H7-"7*+FF"%8-"I8%7-H-K-'"+%"+JLH77H8%">M6"%8&"H7"H-">H%JH%"8%6"-*'"1'>-8&9"d*'"
H%E8&L+-H8%",&'7'%-'J"*'&'H%6"H%IFKJH%6"GH-*8K-"FHLH-+-H8%("=+#"-*'"E+HFK&'"8E"-*'"1'>-8&"-8"FH7-"+%M"
IF+HL"+7"I8%-H%'%-6"K%FHKHJ+-'J6"JH7,K-'J"8&"7K>'I-"-8"+"7'-8EE"8&"=>#"-*'"FH7-H%"8E"+%M"IF+HL"+7"
K%7'IK&'J6"J8'7"%8-"I8%7-H-K-'"+%"+JLH77H8%">M"-*'"1'>-8&"-*+-"-*'"7'IK&'J"F'%J'&7"FH7-'J"*8FJ"+%M"
QTWV̀VTP`\R`UOVa^XRPu[RQuT^RVYR`uP^YVY_YTROR OVT[RuWRYZTRvTSYu[^wR[V]ZY^RYuR`uPYT^YRYZTROUVQVY\XR
,&H8&H-M6"%+-K&'6"I*+&+I-'&H+-H8%6"+%J8&"+L8K%-"8E"+%M"IF+HL9"
6




."
                                    6
 ""nZTRUO^YRWu_[RQV]VY^RuWRYZTRvTSYu[w^RWTQT[OURYORVQTPYVWV̀OYVuPRP_aST[RO[TRxym""d*'"L+HFH%"+JJ&'77"E8&"-*'"1'>-8&"
    H7""s8".:6"/&''%7"r+&L76")d"fe9"

012345678797 86                                           86                                                     6
                        ðñòóôõö÷øùúõøôôôûüýþ0ó12ôöôôô345ó6ô41ô789 ôü1ôùøö õöôôôñóôö ôüôöú
                    Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 157 of 161


    ä?>><?I<AH?@<?ICBEOMA?BI<AB<?GFIA?CX<AHF<DM@Få
    æ3o96 36 ì7   t6í 3t6îî1
    ç 7936è9936é 5sm94t61s9686923ê666ès923                         æ7974968 ï3l
    1 36s o36kr865 ë qê
                                                                                    kè993q                                                       0 1233456378692687776766 6

 887476 66
  !"##$%&#!'(&!#)!*+,-%.#
 /0#12(3&4#0(56!70#&(#                                  89:8;<
 =<>?@A<BC<DEFG?ABE@<HB>G?IJ<AHF<KL<>MEJF@A<NI@FDNEFG<D>M?O@<ON@A<PF<C?>FG<?I<M<QHMRAFE<88<BE<QHMRAFE<S<DM@FT<UID>NGF<D>M?O@<VH?DH<AHF<GFPABE<
 G?@RNAF@T<WB<IBA<?ID>NGF<D>M?O@<PX<MIX<RFE@BI<BE<FIA?AX<VHB<?@<MI<YZ[Y\]^_M̀@<GFC?IFG<?I<88<aTbTQT<c<8L8dK8eT<=>@Bf<GB<IBA<?ID>NGF<D>M?O@<PX<
 @FDNEFG<DEFG?ABE@f<NI>F@@<AHF<NI@FDNEFG<D>M?O<EF@N>A?IJ<CEBO<?IMGFgNMAF<DB>>MAFEM><hM>NF<R>MDF@<AHF<DEFG?ABE<MOBIJ<AHF<HB>GFE@<BC<AHF<9L<
 >MEJF@A<NI@FDNEFG<D>M?O@T<
  iMOF<BC<DEFG?ABE<MIG<DBOR>FAF<       iMOFf<AF>FRHBIF<INOPFEf<MIG< iMANEF<BC<AHF<D>M?O<UIG?DMAF<?C< =OBNIA<BC<NI@FDNEFG<D>M?O<
  OM?>?IJ<MGGEF@@f<?ID>NG?IJ<j?R<DBGF< FOM?><MGGEF@@<BC<DEFG?ABE< k863l m3n6936 D>M?O<?@< r869236476768st6s 34s3n687676 t6
                                       DBIAMDA<                     3o9n6o 56 n6 DBIA?IJFIAf< s 34s36476 s 9u6r8647676m 97t6
                                                                    m83 7 6         NI>?gN?GMAFGf<
                                                                     3p743n6 6 BE<G?@RNAFG< 8346ps3s3n6687866476999364676639886s96946 4s6393s6497 6
                                                                    p3 3 96                         s 34s3647u6
                                                                    4 949q6
                                                                                                                           vBAM><D>M?Of<?C WFGNDA?BI<CBE aI@FDNEFG
                                                                                                                           RMEA?M>>X       hM>NF<BC      D>M?O
                                                                                                                           @FDNEFG         DB>>MAFEM><BE
                                                                                                                                           @FABCC
w xyz{|}
  ~
                                    
                                   w~             ¡¢
                                                                              ¢
                                                                              £¤¥¦¥                                                                    ¨©ª«¬©©«­®­°̄©
  ~~                                      §¥
                                   ¾¾¦¿ÀÁÂ
  z±²³±´µ¶·²³}x²±´¸¹«}º²»}         
  wwww¼¦¦            ~wÃ~wwwwÀ~wÃ~Ã¦§¦                                                                                  ¨­«©©Ç«©¬©¯¬È
  ½~~                Ä~wÃ~ÅÃ~             ¦¢
                                   ÆÂ§¢
                                   
   {²»¶´}xÉ±»³´·»}Ê±É·Ë±´¹}z¶ÌÍÎ²¹} ¦¥Ñ½
Ã ÏÏz}                             w             ¦§¦                                                                                  ¨­«­°®«ªÈÒÒ̄­
  wwÐ¥¦Ñ¥¢           ÄwÃ~             ¦¢
  ¦¦~                ¦
 Ów³´·Í
            ±«}º²»¯}
              Â¥
                                    ¡ÔÕ¦
                                   ÅÃÅ                                                                                                   ¨­«¬©Ç«ªÖ¬¯®°
   ¦Ä¦ÅwÃ        §§§
 yÏº}º²×Ø´Î²»±}z¶ÌÍÎ²¹}            ¦
                                   ÃÅÅw             Ü¥ §¥
   ÅÙ¼¥Ú¢           ÄÃÅÅÃ                                                                                                             ¨©­Ç«­¬¬¯¬¬}
   ¦Û¼ww               ¡¦§À ¦¦
                                   §§§
 |±ÝÎ×Þß±à}á±Ý·»¶}µ¶à±´} ¡Ô 
                                             Õ¦
                                             ~À~Ã~Å¦§¦
  z¶ÌÍÎ²¹}                         Ä 
                                     w~~Ã~wÃÅ                                                                                                             ¨­Ò¬«¬È­ª̄°}
  ~~ÙÕ¦¥Ñ¥¢Ü¥          Ñ¦§ ¦¢
  ¼Â~~            ÀÑ¦ §
~ âxµ}|±ÝÎ×}º²»¯}                   ¦¿½
   Åw¡¢              Ãww~ÀÃ~~Ã¦§¦                                                                                   ¨­©­«Ö°­¯®Ö}
   Ú~Å~Å         ã¦§À                ¦¢
                                   ¥¦§
                        ÃÄÅÆÇÈÉÊËÌÍÈËÇÇÇÎÏÐÑÒÆÓÔÇÉÇÇÇÕÖ×ÆØÇÖÓÇÙÚÛÜÇÏÓÇÌËÝÉÞÝÈÉÇÇÇßÄàÆÇÉáÇÏâÇÉÍ
                   Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 158 of 161


  0123456        À5422=6Á 157=6ÂÂ                                                                  816 92156
                78916


    !"# $%"      ("%$+##),(#  ")"+%!8# !"! :)#")#') %!
   !%!#& ''(!#%) !#&*!$  !% '' !" -4561.89/0116358216 %!!' ;-63<1660849646-00=6 16 51216-4006464 0=6
                                       #""                     21231628 36048 16 #"!#&#"( 165126608496894 3>6;-660849646/8534800=6
                                                                    /54-1 44 806        )#%!9)!" (
                                                                     155461168 26 !'$)"  -415665851021166-440-06664460304833810568600684496
                                                                                                                                              5
                                                                                                                                              6
                                                                                                                                                894 368 26212 6344 6
                                                                                                                                                134--6346680608316
                                                                    7451591 36                         16 51   2  6 6  08 49>     6
                                                                    64 358636
                                                                                                                   ?"%%!( A )"!# C#') 
                                                                                                                   !$"!%%@ B%)      %!
                                                                                                                   ')       %%"%
                                                                                                                                 '"
D EF   GHIJKLMNOPLQQFPJLRJSTUQVWJ tff\y_`^_izhsdfshhfu_ehlfk^\_
   XWWLTYOIJ
   Z[\]^\_`a_b^c\d^\_efgfh_ijjklh_ |{g   y
                                         _D
                                           \gohsu_t|_
                                            DD}~~x}xpp_                                   ^\fk\oh\fu_
                                                                               vghdhhd_ \                                                         J
   `mkn]k\o__                          y_p}xr}pr_                                      nkmk]gfh]_
   ppp_qgdf_prfc_efshhf_               ^a^zhsdfshhflgafhgdao^z_
   tmdfk\u_vw_rDrxx_
_JKJ                            tff\y_cgsnhd_hnng_
   _`s^g]g[u_efha_}p__ |lcy_gsnhrd}alxhnn}grdp~_
                                                               fs^\oj^slha]hdkoehszklhd_                                                              J
   eg\fg_{^\klgu_t_xx              \_
pYFPJFPVWFIJ¡PLTNJKJ tf           f\y_qi_^s_¤h\hsgn_^m\dhn_
   pxp_Z^\ogfhs_¢su_efh_pp~__ y_rrDDpp}}D~rxpr}}r__
                                       | y
                                         _                                     ehszklhd_   \nkmk]gfh]__                                             J
   £^shnnu_{t_p                   gsh\hso[dhszklhdos^ma\hf_
   XQ  N ¥  HJMN  Q
ppD_¦^^]ng\]_tzh__LMF YOJ
                            LQTOV
                                 L YI
                                    J  tff\y_|h\\[_¨kfg}k\©k_
   `msnk\of^\u_i£_Zr§_e_             |y_}D}~r_                        ehszklhd_                                                              J
   g\g]g                               h\ \ [ g  n   c  g } h ª  n
                                                                   ^[ªh \ f
                                                                          al^ª
ppOHpPJpY FPJSHPOYFPIJ          tff\y_qi_^s_¤h\hsgn_^m\dhn_
             _`nmjj_shh«_¢s_¬g__ |y_D}xr}rDr_                          ehszklhd_                                                               J
   |ng[g_¨kdfgu_t_x_              k\j^dfgsh\hso[gsf\hsdal^ª_
p~­Q  L®HIOJ̄YWJ
   pxrp_gnkjg_ef__
                                       tff\y_qi_^s_¤h\hsgn_^m\dhn_
                                       |y_DpD}D}D_                        ehszklhd_                                                               J
   echsªg\_ig«du_t_pxpp_             gll^m\fk\ojn^gdfal^ª_
pxKK°J̄       YWLPNLPHOF±J             l^_¦^nfhsd_³nmhs_
   tff\y_qi_^s_¤h\hsgn_^m\dhn__ |y_D}r~}D´_D}xx}x~ehszklhd_
   |i_`^_x~r_                        y_DDD}rrr}~r´_rr~}D}~Dp                                                                                   J
   gs^n_efshgªu_²Z_pr_             llc}gs^nfhsd«nmhsal^ª_
pµV    QQVHMJJ¡HTQOJEPTIOFFJLRJO¥FJ
   °L¶HP±JµJ¡HTQOJEPTIOJ·X̧J
   ±HOF±J¹HYTHPJJJ             tff\y_Zhh_egzhnkjj_                     §h\f_                                                                   J
   l^_bmnkg_efhsnk\o__                 ^nh[^f^\nk\ha\hf_
   D_²ª hskgn_tzh_
   ¦hdf^sfu_v_DD_
p°H    POMHYJ̄YWLMFJº¯EJ
   »HYHFMFYOJ
                                       tff\y_egsg_Z[\\_i½¢hnn_
                                       |y_Dp}p}xrpp_
   ppDpp_£^sfc_shhg[u_efh_p__ y_rp~}r~}Dp_                             §h\f_                                                                    J
   ¼^mdf^\u_vw_rr_                  d^]hnnck}shkfal^ª_
   V I H J ¾¥ LT PJ
                     F O
                       JHQ
                          J
prtff\y_¢hsh«_¼a_|^ffdu_ba_§[g\_ l^_|^ffd_Zg_ksªu_ZZ|_
                                       |y_rp~}~}DDDp_                                    ^\fk\oh\fu_
   ^nhsu_`gfgªk_`gd«k\__                                                     Zkfk
                                                                                  og f
                                                                                     k^\_  \nkmk]gfh]u_                                              ·Y¿YL¶YJ
  ~r~r_`mjjgn^_e hh]g[u_emkfh_p_]y_^rfpfd~}D^~f}fd~}nDgDa
                                                                 _
                                                                  l^ª_                     ¢kd mfh]_
   ¼^mdf^\u_vw_rrD_
pDST   UQVWJ·OVQVOJKLMMVIIVLYJLRJ tff\y_¢gzk]_¼^gs]_
   EFGHIJ
   prp_£a_^\oshdd__                  |y_p}~}rpxx´_p}~}rD§homngf^s[_§hngfh]^   \
                                                                                             \fk\oh\fu_
                                                                                             nkmk]gfh]u_                                              ·Y¿YL¶YJ
   |i_`^_p~~_                       y_p}~}r~´_p}~}rD                       ¢kd mfh]_
   tmdfk\u_vw_rDrpp}~~_              ]gzk]ac^gs] mlafhgdao^z_
                         ¡¢£¤¥¦¤¡§¨©ª¡«¬«­®¯°
                     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 159 of 161


   012345647839 5841 94752 334    0123433 5 3423841 94 01834564347124-9713464 /25 4564 3783947124
   21 4199834 79 4 475934 32141998345647839 584 !"# 71244 0"1*((%232&%*2#!((&&3
                                   75 174                     #$"%!$&'&%! 75 3 4 2&%*2#*(2&"40*((%"(3
                                                              %%(&        .91394 *2#!((&""*(2&"&###2*"(&
                                                              %)(*%!&# 5849 394 %   )2*"%""**2"
                                                              +)&&"                   2&%*2#*(4
                                                              *&"*"%,
                                                                                                             55147124 7397 5 46584 9 378394
                                                                                                             6418164 8134564       7124
                                                                                                             378394    7513814584
                                                                                                                         35664
:;                                  YQQObHcLOHKNdQZOSHeNfLRUNH
                                    PNRQZRUZHgHPQL_LOHhZiUO`ZOH
                                    KbHG:^jGV^j:::^H
  <=>?@ABA>?CD?<>EBF?               kbHG:^jGGXj:^VXH
  ::GHIJHKLMNOHPQRLLQSHPTUQLHVWXHH `_QNLf_LLRUONJJ̀RZNiRQUZOR`UZZOlZ
                                                                  lZNmJQLdN`JmZ_nH
                                                                    NmJQLdN`JmZ_H               zZOQUOmLOQSH
  PNOHYOQZOUZSH[\HV]G^XH                                                          yUQUmNQUZOH   {OfU|TUwNQLwSH                          }~~C~?
                                    YQ  Q O b HhU
  ]^]H[RN_ÙHPQRLLQSHPTUQLH:XG^HH KbHV:WjGGWjX]]tH   Mo  H pL   RfU
                                                                  OHgHqN OHrsN RQ
                                                                                H               qÙvTQLwH
  aZT`QZOSH[\HVV^^GH                kbHV:WjGGWjX]G:H
                                    RUMoJiLRfUOlZNmJQLdN`JmZ_nH
                                    sUffUNuJMNRvLOQLRlZNmJQLdN`JmZ
                                    _nHwNOJxsNRQlZNmJQLdN`JmZ_
G^
                                ???<<?<?
G:

GG

GW

G

GX

Gt

GV

G]

G;
                  <=>?@ABCDEFAD@@@GHIJK?LM@B@@@NOP?Q@OL@RSTU@HL@EDVBWVAB@@@X=Y?@BZ@H[@BF
               Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 160 of 161


 012345647839 5841 94752 334    0123433 5 3423841 94 01834564347124-9713464 /25 4564 3783947124
 21 4199834 79 4 475934 32141998345647839 584 !"# 71244 0"1*((%232&%*2#!((&&3
                                 75 174                     #$"%!$&'&%! 75 3 4 2&%*2#*(2&"40*((%"(3
                                                            %%(&        .91394 *2#!((&""*(2&"&###2*"(&
                                                            %)(*%!&# 5849 394 %   )2*"%""**2"
                                                            +)&&"                   2&%*2#*(4
                                                            *&"*"%,
                                                                                               55147124 7397 5 46584 9 378394
                                                                                               6418164 8134564       7124
                                                                                               378394    7513814584
                                                                                                           35664
:;
                         ðñòóôõö÷øùúõøôôôûüýþ0ó12ôöôôô345ó6ô41ô789 ôü1ôùøö õöôôôñóôöúôüôöú
                     Case 21-03041 Document 1-3 Filed in TXSB on 03/15/21 Page 161 of 161

6¼¼6½C$GC$C$H¾
    n
    ak_896·4 a66̈¨¿À
                    ¨¨Á
                      Â¨¨Â¨ÃÄÅ
                           ¨¨¨¨¨Æ
                                ¨¨À¨Ç
                                    ¨ÃÈ
                                      ¨¨¨¨È¨É
                                            ¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨66
    ¸e2_ad6§_4_ac64ep9gb_3±6¹8g9_61896_`ar6¨ÊË
                                             ¨¨¨Ì¨Í¨Î¨Æ¨À
                                                        ¨Å¨¨¨¨¨¨¨¨¨¨¨¨¨62c_923_6816¨§_
                                                                                      ÏÆ
                                                                                       ¨4¨_a¨Ð¨Ñ¨Ò¨¨¨¨6
                   n
    n                        n
    ¹4ca6eg ka96¦£{º» r6 ¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨666
                                                                                             6




011232456789 6 6
%&'()*)+,-./0.1&*/2&.)(+3/-4/2&*56*3/4-*/7-.89.1,:,16)(/%&;+-*</ =>?=@/
A"BC$CD#C"#E$C$FF$CFEG$$H$#G
C$GC$C$$$$#$ECGCI$C$CGE
GG$C$G$JKC$GG$$C"L$F$$CFC#ECC
GECJMNFO$=PPQRP==J
SAO!TMNF$$$GJUNH$$GEHFFE#HGFF#
BC#NF$$$FV@PPEPPPGF$GF>P$E#CJ=QJWJXJYY=@>E=Z[=E
=@=REZ@\=J

/              %&'()*)+,-./).1/<,].)+6*&/

           ^64 6_`a6b9ac2dae_f64e8_`a9681123a9f68964e64g_`892had64iae_6816_`a6389b894_28ej646 a ka968964e64g_`892had64iae_6816_`a6b49_ea9c`2bj6896
           4e8_`a962ed2l2dg456ca9l2ei64c6469ab9acae_4_2la6816_`a6dak_8962e6_`2c634camn
           ^6̀4la6ao4 2ead6_`a62e189 4_28e62e6_`a6d83g ae_c63`a3pad6ka58q64ed6^6̀4la6469a4c8e4k5a6ka52a16_`4_6_`a62e189 4_28e62c6_9ga64ed63899a3_rn
           s6tuvwxyzw{|}~{|wwz{ x{w z{w6011232456789 6 6
           s6tuvwxyzw{{wx{v{w{z{twuywx{{w6011232456789 6 6
           s6tuvwxyzw{}{wx{v{w{ wuywx{z6011232456789 6 76
           s6tuvwxyzw{{wuy{ u{ x{ wwx{ww6011232456789 6 ¡6
           s6tuvwxyzw{{xw{011232456789 6 ¢6
           s6ty{£{|w{ x{zw{£{¤ ¥¦xxyz6011232456789 6 §g 6
           s6 aedad6tuvwxyzw6̈¨¨¨6
           s6
           Ó vw{©©{{vw{ª{w{{£{wx{v{w{vw{«¬{­w{ wuywx{z{ x{|w{¤{¦xw6011232456789 6 ®6
           Ó 0_`a96d83g ae_6_`4_69a¯g29ac646da35494_28e°ÔÕ
           s6                                           °°°°°Ö
                                                             °×
                                                              °°Õ
                                                                °Ö
                                                                 °°Ø
                                                                   °Ù°ÚÛÜÝ
                                                                      °°°°°°°°°°Ú
                                                                                °°Ö
                                                                                  °Þ
                                                                                   °°ß
                                                                                     °°à
                                                                                       ×áÙ
                                                                                       °°°°°°Ø
                                                                                             °°Ù
                                                                                               °Ú
                                                                                                °°âÚ
                                                                                                  °°°°°Ý
                                                                                                       °°Ù
                                                                                                         °°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°n6


           ^6da3549a6geda96bae45_±6816ba9²g9±6_`4_6_`a6189ai82ei62c6_9ga64ed63899a3_m666
           oa3g_ad68e6°ã°ä
           6 6
                          °°åæ
                             °°ç°å
                                 °è°ã
                                    °°è°æ
                       ´´6666µµµµ66
                                        °°n                       ³åÞåéÕÕ×êßëììØÖ
                                                                       °°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°6
                                                                        §2ie4_g9a68162ed2l2dg456c2ie2ei68e6ka`4516816dak_896

n
66
                                                                        éÕÕ×êßëììØÖ
                                                                        °°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°n
                                                                        ¶92e_ad6e4 a6
6                                                                       °Ôß
                                                                         °°°°à
                                                                             Ú°°í°°îà
                                                                                    °°Ý
                                                                                      °°Ø
                                                                                        °Ý
                                                                                         °°ï
                                                                                           °à
                                                                                            °Ø
                                                                                             °°ì
                                                                                               °Ûí
                                                                                                °°°í
                                                                                                   °à
                                                                                                    °ï
                                                                                                     °Ú
                                                                                                      °°Ö
                                                                                                        °°°°°°°°°n
n
      6               66                                                ¶8c2_28e68969a54_28ec`2b6_86dak_89

011232456789 6 6                                   !"#$6                        6
